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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 VIDEOLABS, INC., and
 VL COLLECTIVE IP LLC
                                                     Civil Action No.
                         Plaintiffs,

           v.                                        JURY TRIAL DEMANDED

 META PLATFORMS, INC.;
 INSTAGRAM, INC.; WHATSAPP LLC;
 FACEBOOK TECHNOLOGIES, LLC;
 GIPHY, INC.

                         Defendants.


                                         COMPLAINT

       Plaintiffs VideoLabs, Inc. (“VL”) and VL Collective IP LLC (“VL IP”) (collectively

“VideoLabs” or “Plaintiffs”) file this Complaint against Defendants Meta Platforms, Inc.

(“Meta”), Instagram, Inc. (“Instagram”), WhatsApp LLC (“WhatsApp”), Facebook Technologies,

LLC (“Facebook Technologies”), and Giphy, Inc. (“Giphy”) (collectively, the “Meta Companies”

or “Defendants”), and in support thereof alleges as follows:

                                  NATURE OF THE ACTION

       1.       Digital video has become fundamental to how society interacts, communicates,

educates, and entertains. In fact, video consumption now accounts for more than 82% of all

Internet traffic.1 The ability to reliably provide high-quality video drives the growth of digital

platforms that are increasingly integral to the global economy. As Meta’s CEO, Mark Zuckerberg,


       1
         See Ex. 6, The Sustainable Future of Video Entertainment, INTERDIGITAL (Aug. 2020),
https://www.interdigital.com/white_papers/the-sustainable-future-of-video-
entertainment?submit_success=true (last visited May 24, 2022).



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said, “video is a mega trend” on the “same order as mobile.2 Meta’s COO, Sheryl Sandberg further

explained that “[c]onsumer video is exploding on [Meta’s] platform . . . and that really creates ad

opportunities.”3

       2.      The advent of high-quality video as a staple of digital consumption did not happen

instantaneously.   As with any complex technology, digital video presented implementation

challenges. Many companies spent many years and resources to develop new and innovative

technologies that guide how video is created, streamed, secured, managed, and consumed.

       3.      Various inventions and technological advances have transformed digital video.

Some of these technologies, such as techniques to efficiently compress video file size, address

central challenges to storing and transmitting video. Others enable video content to be efficiently

and securely streamed to the many user devices that exist today. Yet others involve managing and

organizing videos to provide viewers easier access to content and address how they interact with

content. And others involve identifying the content of videos so as to better target users.

Successful video streaming thus requires myriad technologies that necessarily coordinate with one

another.

       4.      Because various companies played roles in developing the foundational technology

for today’s digital video, no single company can provide the high-quality video experiences that

consumers have come to expect without using technology owned by other companies.

       5.      The founders of VideoLabs recognized this problem and understood that collective

action was needed to address it. If the companies that developed critical video technologies



       2
         Ex. 7, Mark Zuckerberg sees video as a ‘mega trend’ and is gunning for YouTube,
CNBC (Feb. 2017), https://www.cnbc.com/2017/02/01/mark-zuckerberg-video-mega-trend-like-
mobile.html (last visited May 24, 2022).
       3
         Id.


                                                2
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worked together, everyone could benefit: innovators could receive fair compensation for their

contributions, companies deploying video technology could respect the innovators’ patents and

license them on affordable and predictable terms, and consumers could experience better and more

affordable video technology.

       6.      In 2019, with support from widely-recognized industry leaders, VideoLabs

launched a platform to achieve these goals. VideoLabs spent millions of dollars and thousands of

hours analyzing the video space and identifying the patents that reflect the innovations with the

highest impact. VideoLabs then compiled a portfolio of these core patents, obtaining them from

leading companies, including Hewlett Packard Enterprise, Alcatel-Lucent S.A., Siemens AG,

Swisscom AG, 3Com, Panasonic, LG, and Nokia.

       7.      VideoLabs then opened-up membership on its platform to all willing companies.

In exchange for low-cost membership or licensing fees, VideoLabs provides access to its patent

portfolio and a commitment to seek out the most important patents in the video industry and clear

them. Many prominent companies recognized the benefits of the VideoLabs platform and worked

with VideoLabs to efficiently and responsibly license its video technology patents.

       8.      Unfortunately, Defendants have not. The Meta Companies operate several of the

world’s most popular social media platforms, and in doing so, make extensive use of video

technologies. They are enmeshed in practically every aspect of video, from creation to processing,

delivery, targeting, and display.

       9.      VideoLabs has reached out to the Meta Companies multiple times over many years

to alert it to its use of VideoLabs’ patented technology and offer them the benefit of VideoLabs’

platform. On June 26, 2020, VideoLabs was told that the Meta Companies were not interested in

good faith licensing discussions. Several follow-up attempts by VideoLabs were made in early




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and mid-2021, but VideoLabs received no response to those inquiries. Rather than meaningfully

engage with VideoLabs, the Meta Companies have chosen to continue to free-ride on VideoLabs’

patents and the significant innovations they represent.

       10.     Defendants’ refusal to acknowledge VideoLabs’ patents and offer fair

compensation for their use violates the patent laws and undermines the viability of VideoLabs’

platform. VideoLabs feels it has no recourse but to file this action to stop the Meta Companies

unauthorized use of VideoLabs’ patents.

       11.     This case is ultimately about ensuring the integrity of the patent system and

compensating patent owners for their protected innovations. Respect for intellectual property, as

the law requires, is essential to incentivize innovation and promote technological progress.

Accordingly, VideoLabs brings this action under the patent laws, 35 U.S.C. § 1 et seq., in order to

stop the Meta Companies’ willful infringement of U.S. Patent Nos. 7,769,238, 8,139,878,

7,970,059, 7,266,682, and 7436,980 (collectively, “patents-in-suit”).

                                         THE PARTIES

       12.     VL was founded in 2018 as part of an industry-sponsored and -funded effort to

reduce the cost and risk of technological gridlock associated with diverse patent ownership. VL’s

leadership has decades of experience in intellectual property licensing, during which they have

completed over 1,000 intellectual property transactions worldwide and drawn more than $6 billion

in revenue.

       13.     VL is a corporation organized under the laws of the State of Delaware, with its

principal place of business in Palo Alto, California.

       14.     VL IP was founded in 2019 as a subsidiary of VideoLabs, Inc.




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       15.     VL IP is a corporation organized under the laws of the State of Delaware, with its

principal place of business in Palo Alto, California.

       16.     On information and belief, Meta is a publicly traded corporation organized and

existing under the laws of the State of Delaware and is registered to do business in the State of

Delaware. Meta’s headquarters are located at 1601 Willow Road, Menlo Park, California 94025.

       17.     On information and belief, Instagram, WhatsApp, Facebook Technologies, and

Giphy are each subsidiaries of Meta, and the companies are heavily intertwined, including with

respect to the products accused herein of infringing VideoLabs’ patents and the Defendants’

infringement. The Defendants share many underlying technology, resources, platforms, and

architecture, particularly with respect to the accused products and the Defendants’ infringement.

For example, Meta’s recent “data center is intended to help support all of Meta’s apps and services,

including Facebook, WhatsApp, Instagram and Meta Quest.”4 Similarly, “WhatsApp relies on

Meta data centers to provide its services to you.”5 As another example, Facebook Messenger and

Instagram are connected and can be used together.6 And content from Instagram can be shared on




       4
          Ex. 8, Meta to invest $800 million in new Central Texas data center, THE DALLAS
MORNING NEWS (Mar. 2022), https://www.dallasnews.com/business/technology/
2022/03/31/meta-to-invest-800-million-in-new-central-texas-data-center (last visited May 24,
2022).
        5
          Ex. 9, Redirect to Meta, WHATSAPP (2022), https://faq.whatsapp.com/general/redirect-
to-meta/?lang=en (last visited May 24, 2022).
        6
          Ex. 10, How to Send Message on Instagram Without the Instagram App, TECHWISER
(May 2021), https://techwiser.com/how-to-connect-facebook-messenger-to-instagram (last
visited May 24, 2022).



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Facebook.7 Further, the Defendants also share legal policies, terms, and conditions.8 As yet

another example, Facebook Technologies works with Meta to provide Oculus (also called Quest)

and Portal products and services.

                                JURISDICTION AND VENUE

       18.     This is an action for patent infringement arising under the patent laws of the United

States. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331

and 1338(a), as well as 28 U.S.C. § 1367(a).

       19.     This Court has personal jurisdiction, including general and specific jurisdiction,

over Meta. Meta is incorporated under the laws of the State of Delaware. On information and

belief, Meta conducts business in, has continuous and systematic contacts with, and has committed

acts of patent infringement in the State of Delaware and in this District, and has established

minimum contacts with this forum state such that the exercise of jurisdiction over Meta would not

offend traditional notions of fair play and substantial justice. On information and belief, Meta

markets, offers for sale, sells, and/or uses products and/or services, including those presently

accused of infringement, in this District. Further on information and belief, Meta markets, offers

for sale, and/or sells products and/or services, including those presently accused of infringement,

to customers and potential customers in this District.

       20.     This Court has personal jurisdiction, including general and specific jurisdiction,

over Instagram. Instagram is incorporated under the laws of the State of Delaware. On information



       7
          Ex. 11, How do I share my video on Instagram to my Facebook Page?, INSTAGRAM
HELP CENTER (2022), https://www.facebook.com/help/instagram/486878428409681 (last visited
May 24, 2022).
        8
          Ex. 12, Data Policy, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/519522125107875/?maybe_redirect_pol=0 (last visited May 24,
2022).


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and belief, Instagram conducts business in, has continuous and systematic contacts with, and has

committed acts of patent infringement in the State of Delaware and in this District, and has

established minimum contacts with this forum state such that the exercise of jurisdiction over

Instagram would not offend traditional notions of fair play and substantial justice. On information

and belief, Instagram markets, offers for sale, sells, and/or uses products and/or services, including

those presently accused of infringement, in this District. Further on information and belief,

Instagram markets, offers for sale, and/or sells products and/or services, including those presently

accused of infringement, to customers and potential customers in this District.

        21.    This Court has personal jurisdiction, including general and specific jurisdiction,

over WhatsApp. WhatsApp is incorporated under the laws of the State of Delaware. On

information and belief, WhatsApp conducts business in, has continuous and systematic contacts

with, and has committed acts of patent infringement in the State of Delaware and in this District,

and has established minimum contacts with this forum state such that the exercise of jurisdiction

over WhatsApp would not offend traditional notions of fair play and substantial justice. On

information and belief, WhatsApp markets, offers for sale, sells, and/or uses products and/or

services, including those presently accused of infringement, in this District.            Further on

information and belief, WhatsApp markets, offers for sale, and/or sells products and/or services,

including those presently accused of infringement, to customers and potential customers in this

District.

        22.    This Court has personal jurisdiction, including general and specific jurisdiction,

over Facebook Technologies. Facebook Technologies is incorporated under the laws of the State

of Delaware. On information and belief, Facebook Technologies conducts business in, has

continuous and systematic contacts with, and has committed acts of patent infringement in the




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State of Delaware and in this District, and has established minimum contacts with this forum state

such that the exercise of jurisdiction over Facebook Technologies would not offend traditional

notions of fair play and substantial justice. On information and belief, Facebook Technologies

markets, offers for sale, sells, and/or uses products and/or services, including those presently

accused of infringement, in this District.        Further on information and belief, Facebook

Technologies markets, offers for sale, and/or sells products and/or services, including those

presently accused of infringement, to customers and potential customers in this District.

       23.     This Court has personal jurisdiction, including general and specific jurisdiction,

over Giphy. Giphy is incorporated under the laws of the State of Delaware. On information and

belief, Giphy conducts business in, has continuous and systematic contacts with, and has

committed acts of patent infringement in the State of Delaware and in this District, and has

established minimum contacts with this forum state such that the exercise of jurisdiction over

Giphy would not offend traditional notions of fair play and substantial justice. On information

and belief, Giphy markets, offers for sale, sells, and/or uses products and/or services, including

those presently accused of infringement, in this District. Further on information and belief, Giphy

markets, offers for sale, and/or sells products and/or services, including those presently accused of

infringement, to customers and potential customers in this District.

       24.     Venue is proper in this Court as to Meta under 28 U.S.C. §§ 1391 and 1400(b).

Meta resides in this District. By virtue of choosing to incorporate in the State of Delaware, Meta

has received the benefits and responsibilities offered to and expected of Delaware corporations.

Meta must accordingly assume responsibilities to Delaware and its citizens.

       25.     Venue is proper in this Court as to Instagram under 28 U.S.C. §§ 1391 and 1400(b).

Instagram resides in this District. By virtue of choosing to incorporate in the State of Delaware,




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Instagram has received the benefits and responsibilities offered to and expected of Delaware

corporations. Instagram must accordingly assume responsibilities to Delaware and its citizens.

       26.     Venue is proper in this Court as to WhatsApp under 28 U.S.C. §§ 1391 and 1400(b).

WhatsApp resides in this District. By virtue of choosing to incorporate in the State of Delaware,

WhatsApp has received the benefits and responsibilities offered to and expected of Delaware

corporations. WhatsApp must accordingly assume responsibilities to Delaware and its citizens.

       27.     Venue is proper in this Court as to Facebook Technologies under 28 U.S.C. §§ 1391

and 1400(b). Facebook Technologies resides in this District. By virtue of choosing to incorporate

in the State of Delaware, Facebook Technologies has received the benefits and responsibilities

offered to and expected of Delaware corporations. Facebook Technologies must accordingly

assume responsibilities to Delaware and its citizens.

       28.     Venue is proper in this Court as to Giphy under 28 U.S.C. §§ 1391 and 1400(b).

Giphy resides in this District. By virtue of choosing to incorporate in the State of Delaware, Giphy

has received the benefits and responsibilities offered to and expected of Delaware corporations.

Giphy must accordingly assume responsibilities to Delaware and its citizens.

       29.     Further, on information and belief, Defendants have offered and sold, and continue

to offer and sell, their infringing products and services in this District. On information and belief,

Defendants design, use, distribute, sell, and/or offer to sell the infringing products and services in

this District as well as to consumers and businesses in this District.

       30.     On information and belief, Defendants are large companies with global reach and

billions of dollars of annual revenue. Litigating this case in this District is not clearly inconvenient




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and would serve the interests of justice. Further, litigating this case in this District serves the

interests of judicial economy, including in light of related pending lawsuits in this District.9

       31.       Joinder of Defendants into a single action for patent infringement is proper

pursuant to 35 U.S.C. § 299(a). The joinder of Defendants is proper because Defendants have

been and are acting in concert, and are otherwise jointly or severally, or otherwise in concert with

respect to the acts of infringement, which arise out of the same transaction, occurrence, or series

of transactions or occurrences relating to the making, using, importing into the United States,

offering for sale, or selling of the Accused Products. Further, joinder of Defendants is proper

because there are questions of fact common to all Defendants.

       32.     Meta’s Quarterly Earnings Report for the quarter ending March 31, 2022, states

that Meta “report[s] our financial results for our two reportable segments: Family of Apps (FoA)

and Reality Labs (RL). FoA includes Facebook, Instagram, Messenger, WhatsApp, and other

services. RL includes augmented and virtual reality related consumer hardware, software, and

content.”10 On information and belief, Meta does not separately report revenue or financial results

for the Accused Products in its filings to the Securities and Exchange Commission, but rather

reports combined performance and financial results.

       33.     The applications and products Facebook, Instagram, WhatsApp, Oculus, Portal,

and Giphy are “own[ed]” by Meta.11          On information and belief, Meta “owns” as well as


       9
           See Starz Entertainment, LLC v. VL Collective IP, LLC, No. 1:21-cv-01448-CFC (D. Del.
filed Oct. 13, 2021); see also VideoLabs, Inc. v. Netflix, Inc., No. 1:22-cv-00229-CFC (D. Del.
filed Feb. 23, 2022).
         10
            Ex. 13, Meta Reports First Quarter 2022 Results, META (Apr., 2022), available at
https://investor.fb.com/investor-news/press-release-details/2022/Meta-Reports-First-Quarter-
2022-Results/default.aspx (last accessed May 24, 2022).
         11
            See Ex. 14, Facebook goes all-in on its ‘metaverse’ ambitions, consolidates itself,
Instagram, WhatsApp and others under Meta, BUSINESS INSIDER (Oct., 2021),



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“operates” Facebook, Instagram, and WhatsApp, including the development and support of these

services.12 On information and belief, this operation includes “shar[ing] information about” users

within the Meta “family of companies,” including Facebook, WhatsApp, and Instagram, “to

facilitate, support and integrate . . . activities and improve [these] services.”13

        34.     Accordingly, joinder of Defendants into a single action for patent infringement is

proper under 35 U.S.C. § 299(a).

                             THE VIDEOLABS PATENTS-IN-SUIT



        35.     U.S. Patent No. 8,139,878 (the “’878 Patent”), titled “Picture Coding Method and

Picture Decoding Method,” issued on March 20, 2012. VL owns all rights and title to the ’878

Patent, as necessary to bring this action. A true and correct copy of the ’878 Patent is attached as

Exhibit 1.



https://www.businessinsider.in/tech/news/facebook-goes-all-in-on-its-metaverse-ambitions-
consolidates-itself-instagram-whatsapp-and-others-under-
meta/articleshow/87352752.cms#:~:text=Facebook%20has%20officially%20announced%20the,
or%20any%20other%20existing%20platform (last visited May 24, 2022) (“Facebook has
officially announced the name for its corporate entity that owns Facebook, Instagram, WhatsApp
and Oculus. Facebook chief Mark Zuckerberg, at the Facebook Connect event, announced that the
holding company will be called ‘Meta.’”); see also Ex. 15, Facebook owns the four most
downloaded apps of the decade, BBC (Dec., 2019), https://www.bbc.com/news/technology-
50838013 (last visited May 24, 2022) (“The four most downloaded apps of the decade,” Facebook,
Facebook Messenger, WhatsApp, and Instagram, “are all owned by Facebook.”).
        12
                See      Ex.      16,      The     Meta       Companies,      META         (2022),
https://www.facebook.com/help/111814505650678 (last visited May 24, 2022) (“Meta owns and
operates each of the companies listed below,” listing “Facebook Technologies, LLC” and
“WhatsApp         LLC.”);    see      also   Ex.    17,     Data     Policy,   META        (2022),
https://help.instagram.com/155833707900388 (last visited May 24, 2022) (“We share information
globally, both internally within the Meta Companies, and externally with our partners . . . [t]hese
data transfers are necessary to provide the services set forth in the Meta Terms and Instagram
Terms and to globally operate and provide our Products to you.”).
        13
                See      Ex.      18,      The     Meta       Companies,      META         (2022),
https://www.facebook.com/help/111814505650678 (last visited May 24, 2022).


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       36.        U.S. Patent No. 7,769,238 (the “’238 Patent”), titled “Picture Coding Method and

Picture Decoding Method,” issued on August 3, 2010. VL owns all rights and title to the ’238

Patent, as necessary to bring this action. A true and correct copy of the ’238 Patent is attached as

Exhibit 2.

       37.        U.S. Patent No. 7,970,059 (the “’059 Patent”), titled “Variable Length Coding

Method and Variable Length Decoding Method,” issued on June 28, 2011. VL owns all rights and

title to the ’059 Patent, as necessary to bring this action. A true and correct copy of the ’059 Patent

is attached as Exhibit 3.

       38.        The ’878, ’238, and ’059 Patents (collectively, the “Coding Patents”) were

developed by engineers at Panasonic, one of the largest consumer electronics companies at the

time of the invention and a major innovator in Internet technologies. In 2002, when patent

applications were first filed for the Coding Patents, Panasonic was a world leader in digital video

technologies.14      Panasonic developed video coding technologies and designed consumer

electronics –– including TVs, DVD players, and memory cards –– for storing, processing, and

displaying video content.15

       39.        Native video content is massive. Modern digital video cameras used by premier

television and movie studios capture images at incredibly fast rates (ranging from 30 frames per

second up to 300 frames per second) and extremely high resolutions (up to “5k,” or 5120 x 2880,

for a total size of 14,745,600 pixels per frame). Storing just an hour of this raw content requires




       14
           See Ex. 19, Annual Report 2002, National/Panasonic Matsuhita Electric, available at
https://www.annualreportowl.com/Panasonic/2002/Annual%20Report (last accessed May 24,
2022).
        15
           See id.



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more than 300 GB of memory.16 Most modern TVs, laptops, tablets, and smartphones cannot

possibly store and play such large files.

       40.     Even if they could, there would be little point from the perspective of on-demand

content delivery: Internet speeds are far too slow to stream such massive video files. The fact is

that transmitting high quality audiovisual content is simply not possible without powerful

compression technologies. Streaming even just standard high-definition content (720p) requires

network bandwidth of approximately 1.5 Gbps,17 which is about 35 times faster than the average

Internet speed in the United States.18 “Encoding” and “decoding,” which respectively refer to the

processes of compressing and decompressing content, are thus essential to applications such as

video streaming, digital television, and videoconferencing.

       41.     Encoding video content allows the content to be made small for storage and

transmission, while decoding permits the viewer to watch high-quality content on his or her device.

In addition to making real-time streaming of content possible, every incremental increase in

compression efficiency yields substantial benefits to companies that store, process, transmit, or

access video. For example, if a video streaming company can cut the size of each of its movie

files in half, then it reasons that it only needs half the numbers of servers to store its movies, half

the network bandwidth to transmit its movies, and half of all other related expenses, such as energy

costs and staffing resources.



       16
           See Ex. 20, How Many GB Is a 2 Hour 4k Movie?, GAMINGSECTION (Nov. 2020),
https://gamingsection.net/news/how-many-gb-is-a-2-hour-4k-movie/ (last visited May 24, 2022).
        17
           See Ex. 21, Bryan Samis, Back to Basics: GOPs Explained, AWS MEDIA BLOG (May
28, 2020), https://aws.amazon.com/blogs/media/part-1-back-to-basics-gops-explained/ (last
visited May 24, 2022).
        18
           See Ex. 22, Average U.S. Internet Speed is 42.86 Mbps, ETI (Feb. 2, 2021),
https://etisoftware.com/resources/blog/report-average-u-s-internet-speed-is-42-86-mbps/ (last
visited May 24, 2022).


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       42.     The Coding Patents describe breakthrough techniques for encoding and decoding

audiovisual content so that it can be transmitted and stored with fewer resources. The patents

vastly improve upon existing methods, and the core technology they describe has been used

throughout the industry for years as the gold standard for coding content.

               1.      Background On Coding Technology

       43.     Video “coding” refers to both the encoding and decoding of video content. Video

compression techniques minimize the size of the data that is sent between the encoder and the

decoder by removing redundancies and imperceivable changes and then efficiently representing

the remaining data for transmission.

       44.     Video is comprised of a series of frames. These frames are successively output to

create the moving pictures that we recognize as video.




Ex. 23, Iain E. Richardson, The H.264 Advanced Video Compression Standard (2d. ed. 2010)

(hereinafter “Richardson”), at 33.

       45.     In the early 2000s, certain techniques existed to reduce the amount of data needed

to describe each frame without any loss in picture quality. For example, if there are a series of 50

white pixels in a row followed by 75 green pixels, then it is more efficient to store the fact that

there are 50 white pixels followed by 75 green pixels than to store the value of all 125 pixels. This

algorithm, which reduces the redundancy stemming from repeating pixels within a frame, yielded


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substantial benefits.

       46.     Video engineers also realized that, very often, not much changes between

successive frames. In the images shown above, for example, the changes between frames 1 and 2

are largely concentrated in the area near the book. As a result, it is not necessary to send the

complete data for every frame of a video. Instead, frames can be sent periodically at strategic

points, such as when there is a scene change that creates major differences between successive

frames. Those strategic frames — called “key frames” — could be used to “predict” other frames

nearby in time by analyzing each frame and storing the differences from one frame to the next.

       47.     Further research yielded additional advances in what became known as predictive

coding. Video engineers realized that it was advantageous to divide each frame into blocks, as

shown below.




       48.     These blocks could be analyzed and used to predict the pixels in the same block in

surrounding frames (“inter-picture prediction,” also called “temporal compression”).

Additionally, these blocks could be analyzed to predict the pixels in surrounding blocks in the

same frame (“intra-picture prediction,” also called “spatial compression”). While predictive

coding does not always recreate frames that are identical to the original frames, the differences are



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so minor as to be imperceptible. For example, in the middle of an intense action sequence, a frame

might display a pixel as blue even though it should be green because doing so enables the image

to be represented more efficiently. This minor alteration from the original content will go

unnoticed by the viewer, who is distracted by all the other activity.

        49.      Once redundancy in the video content has been minimized and imperceptible

details have been streamlined, a process called “entropy encoding” further compresses the data by

using as few bits to represent the data as possible, while still ensuring fidelity to the original visual

content. This is achieved by allocating the fewest bits to commonly appearing bit sequences, and

the most bits to infrequently occurring bit sequences. By way of analogy, when training your dog,

the commands you use most frequently are likely the shortest, single-word commands, like “sit”

and “no.” But commands that you need less frequently may be longer, such as “wait for it” and

“roll over.” In this way, over the course of a week, you expend fewer (verbal) resources. Entropy

encoding applies this same principle to the bits of data that comprise video content.

        50.      There are standardized ways to represent sequences of bits, and depending on the

type of entropy coding, these sequences are stored in either “coding tables” or “probability tables.”

Entropy coding involves selecting the optimal table for the data being transmitted and ensuring

that the decoder knows the proper table to use when decoding the data.

        51.      It was in this context that the inventors of the Coding Patents made their

contributions.

                 2.     The ’878 and ’238 Patents

        52.      The ’878 and ’238 Patents are directed to a type of coding called “Context-based

Adaptive Variable Length Coding,” or “CAVLC.” See, e.g., Ex. 1, ’878 Patent at col. 1, ll. 49-




                                                   16
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52.19   The patents share the same specification and describe the same advances in coding

technology but claim different aspects of the inventions. In particular, the claims of the ’878 patent

are directed to encoding audio and video content for transmission, while the claims of the ’238

patent are directed to decoding the encoded content for playback.

        53.     When encoded, the image data in a particular image block is represented by, among

other things, its “coefficients.” Id. at col. 1, ll. 63-67; col. 7, ll. 38-43; col. 21, ll. 60-66; col. 25,

ll. 29-36. Roughly speaking, larger coefficients for a block indicate a larger amount of changes in

that block as compared with a reference block. See id. For many blocks, there are no such changes,

and so all the coefficients have a value of zero. See id. at col. 21, ll. 60-66. The inventors of the

’878 and ’238 Patents recognized that these “zero-coefficient” blocks presented an opportunity for

further compression. See, e.g., id. at col. 1, ll. 49-52.

        54.     They realized that the decoder did not need to know every single time a zero-

coefficient block existed; rather, the decoder needs to know only when blocks have non-zero

coefficients. They devised a technique wherein data about zero-coefficient blocks are effectively

not encoded at all, and only non-zero coefficient block data is stored and transmitted. See, e.g., id.

at col. 1, ll.49-52, 56-62; col. 1, l. 65 – col. 2, l. 10. The inventors thereby achieved nearly perfect

compression for these zero-coefficient blocks by communicating them practically without sending

any information whatsoever. See id. at col. 2, ll.11-14.

        55.     The inventors also made a substantial contribution to the efficiency of entropy

coding. They recognized that the coefficients in neighboring blocks were a good predictor of the

coefficients in the block being analyzed, and so could be used to select the optimal coding table


        19
          The ’878 Patent and the ’238 Patent share a specification. Accordingly, citations to the
’878 Patent specification apply equally to the ’238 Patent and vice versa; for simplicity, citations
in the present section will be to the ’878 Patent, but apply equally to the ’238 Patent.


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for the block, yielding enhanced compression. See, e.g., id. at col. 9, ll. 34-37; col. 13, ll. 4-11.

Prior techniques lacked this level of sophistication. They did not take advantage of the predictive

power provided by analyzing the coefficients of the surrounding blocks. They would also use the

same coding table for both inter- and intra-predictive coding, which was inefficient because there

could be significant differences between neighboring blocks in the current frame and blocks in

subsequent frames. See, e.g., id. at col. 1, ll. 33-38. Due to these limitations in the use of coding

tables, compression efficiency in previously known entropy coding techniques would vary

significantly between different types of content, and generally decreased as the quality of content

increased. Id. at col. 1, ll. 39-44. These problems (and others) were overcome by the inventors of

the ’878 and ’238 Patents.

               3.      The ’059 Patent

       56.     Similar to the ’878 and ’238 Patents, the ’059 Patent describes an advance in video

compression that involves the novel use of tables. The ’059 Patent, however, uses a kind of entropy

coding referred to as “Context Adaptive Binary Arithmetic Coding,” or “CABAC,” that relies on

probability tables. See Ex. 3, ’059 Patent at col. 1, ll. 37-42.

       57.     CABAC achieves strong compression performance using arithmetic coding — a

sophisticated approach to flexibly pack a string of numbers based on the probability that each next

number will be a particular value. See, e.g., id. at col. 1, ll. 11-14, 37-42. CABAC can optimize

and adapt its selection of probability estimates for image data based on the context of the data. See

id. at col. 2, ll. 33-51. CABAC uses “binary coding,” which means that information can be

represented only by a “0” or a “1.” See, e.g., id. at col. 1, ll. 37-42. Once the data is binarized, it

is arithmetically coded. Id. Arithmetic coding uses predefined probability tables to compress the

data into its final bit stream before transmission. See, e.g., id. at col. 1, l. 60 – col. 2, l. 2.

Probability tables are known to both the encoder and the decoder and referenced by a number (e.g.,


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probability table #2). See, e.g., id. at col. 6, ll.13-14.

        58.     Multiple probability tables are available when encoding content, and probability

table selection is based on analyzing the data being arithmetically coded and the previously coded

data. See, e.g., id. at col. 1, ll. 57-59; Fig. 2. The inventors of the ’059 Patent recognized that it

was advantageous to choose the probability table based on the current probability table and the

absolute value of the data being coded. See, e.g., id. at col. 2, l. 52 – col. 3, l. 11. Further, a

particular sequence of probability tables was determined in advance (e.g., probability table #2, #4,

#3, #1), and the encoder (and thus the decoder) always proceed through the tables in that order,

never reversing and stopping once the final table is reached. See, e.g., id. at col. 2, ll. 48-51. The

inventors realized that following this approach takes advantage of the natural ordering of data and

the context surrounding it. See id. at col. 2, ll. 52-56. The tables are adjusted to respond to the

previous and current data being encoded, but importantly, there are limits on how and when the

probability table can change. See id. at col. 3, ll. 3-7. This adaptation, which gives higher priority

to more recent observations, increases the efficiency of the coding. See id. at col. 3, ll. 7-11.

        59.     The innovations of all three Coding Patents provided a significant advance in

compression that was recognized throughout the industry. In fact, the compression techniques of

the Coding Patents are used in the ubiquitous video codec, H.264. H.264 was revolutionary in the

video industry, as it provided a quantum leap of improvement over the video codecs that had

previously been commonly used, such as Motion JPEG video and MPEG-2. In particular, H.264

“has an 80% lower bitrate than Motion JPEG video” and “the bitrate savings can be as much as

50% or more compared to MPEG-2.”20


        20
         See Ex. 24, What is H264 Encoding?, BLACKBOX, https://www.blackbox.co.uk/gb-
gb/page/38313/Resources/Technical-Resources/Black-Box-Explains/Multimedia/What-is-H264-
video-encoding/ (last visited May 24, 2022).


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       60.     U.S. Patent No. 7,266,682 (the “’682 Patent”), titled “Method and System for

Transmitting Data from a Transmitter to a Receiver and Transmitter and Receiver Therefore,”

issued on September 4, 2007. VL IP owns all rights and title to the ’682 Patent, as necessary to

bring this action. A true and correct copy of the ’682 Patent is attached as Exhibit 4.

       61.     The original assignee of the ’682 Patent was Siemens Corporate Research, Inc.

(“Siemens”), one of the largest consumer electronics companies at the time of the invention and a

major innovator in Internet technologies, including those related to transmitting audio and video.

In 2001 alone, Siemens spent €6.6 billion in research and development.21 At that time, Siemens

recognized the importance of growing Internet technologies, and that security would be essential

to communicating and transmitting content over the Internet.22

       62.     It used to be very difficult to transmit real-time data (such as audio and video) over

the Internet. In the mid-1990s the Real Time Transport Protocol (or RTP) was developed to handle

such real-time Internet traffic in a standard way. RTP was developed by the Audio-Video

Transport Working Group of the Internet Engineering Task Force (IETF) and first published in

1996 as RFC 1889.

       63.     RTP is designed for end-to-end, real-time transfer of streaming media. Indeed,

RTP is regarded as the primary standard for audio/video transport in IP networks and is used with

an associated profile and payload format. Today, RTP is used in communication and entertainment

systems that involve streaming media, such as telephony, video teleconference applications

including WebRTC, television services, and web-based push-to-talk features. The design of RTP


       21
           See Ex. 25, Siemens Annual Report 2001, available at
https://web.lib.aalto.fi/fi/old/yrityspalvelin/pdf/2001/Esiemens.pdf (last accessed May 24, 2022).
        22
           See id.


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is based on the architectural principle known as application-layer framing, where protocol

functions are implemented in the application as opposed to the operating system’s protocol stack.

        64.     However, typical RTP messaging was not very secure. The transmission networks

carrying RTP payload packets were susceptible to security flaws at the transmitter, during

transmission, and at the receiver. See Ex. 4, ’682 Patent, col. 2, ln. 44 – col. 3, ln. 10. For example,

an attacker could hide his/her attack within data during its transmission, and the receiver would —

as a matter of course — decode it. See id. at col. 3, ll. 1-10. As another example, an attacker could

interfere with the data transmission and read the data for itself. See id. at col. 2, ll. 47-54.

        65.     Ultimately, a security and authentication layer was introduced into RTP, known as

Secure Real-Time Transport Protocol (SRTP), intended to provide encryption, message

authentication and integrity, and replay attack protection to the RTP data. SRTP was published

by the IETF in March 2004 as RFC 3711.23

        66.     Yet, years before the formalization and publication of SRTP, Siemens had already

recognized, and solved, the RTP security problems. The ’682 Patent prevents the security flaws

by ensuring, at the receiver, that data being transmitted is not insecure or unwanted. See Ex. 35,

’682 Patent, col. 3, ll. 45-48. Specifically, the transmitter is used to insert authentication data into

the data packets before the data is transmitted. See id. at col. 3, ll. 49-52, col. 7, ll. 6-10. The

authentication data is then transmitted together with the data packet and analyzed by the receiver

to ensure that the transmitter and the receiver know each other. See id. at Fig. 3, col. 3, ll. 52-54,

col. 5, ll. 32-36, col. 7, ll. 10-17. If the receiver knows the transmitter, the data is processed; if

not, the data is rejected. See id. at col. 7, ll. 14-21.


        23
        See Ex. 83, The Secure Real-time Transport Protocol, IETF (Mar. 2004) (hereinafter
“RFC 3711”), at 3, available at https://datatracker.ietf.org/doc/html/rfc3711 (last visited May 24,
2022).


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        67.      Data transmission networks operate on a variety of levels of discreteness. Many

people of skill in the art refer to the seven-layer OSI reference model to abstract the layers of

functionality in these networks. See, e.g., id. at col. 1, ll. 19-45. The well-known OSI model

breaks transmission networks into seven layers, each of which has a different functionality. Id. at

col. 1, ll. 21-25. The lowest layer, layer 1, corresponds to the physical layer, where data and

messages are transmitted from the transmitter to the receiver using a physical protocol. Id. at col.

1, ll.25-28. Each subsequent layer builds on the layer(s) before it, all the way up to layer 7, which

corresponds to an application layer using an application protocol. Id. at col. 1, ll. 36-37. The ’682

Patent optimizes the security of data transmission by performing authentication in the application

layer. See id. at col. 3, ll. 60 – col. 4, ll. 10.

        68.      Authenticating in the application layer provides myriad benefits to the user and the

network. For one, it permits reduced size of authentication data, including because it allows the

transmitter and receiver to share secret information, such as a key, which can be economically

used to generate message authentications. See id. at col. 3, ln. 60 – col. 4, ln. 10, col. 7, ll. 30-34.

        69.      Another benefit of the ’682 Patent inventor’s insight that authenticating should take

place in the application layer is that it increases the transmission system’s performance and reduces

the implementation complexity of the system. See ’682 Patent at col. 4, ll. 15-21. Authenticating

in the application layer provides real time availability of the data. See id. at col. 3, ln. 60 – col. 4,

ln. 10. Once the receiver determines that the transmitter is known, the message is immediately

accepted. See id. at col. 4, ll. 3-7. If the receiver determines that the transmitter is not known, the

message is immediately rejected; no buffering or loading are performed, and no further action is

needed. See id. at col. 4, ll. 7-9.




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       70.     U.S. Patent No. 7,436,980 (the “’980 Patent”), titled “Graphical Object Models For

Detection And Tracking,” issued on October 14, 2008. VL IP owns all rights and title to the ’980

Patent, as necessary to bring this action. A true and correct copy of the ’980 Patent is attached as

Exhibit 5.

       71.     The original assignee of the ’980 Patent is Siemens, one of the largest consumer

electronics companies at the time of the invention and a major innovator in Internet technologies,

including those related to audio and video. In 2001 alone, Siemens spent €5.1 billion in research

and development, with more than 55% in “information and communications and automation and

control technologies.”24 At that time, Siemens recognized the importance of computer vision, and

of object detection and tracking in particular, and that it would have wide applicability in a variety

of industries, including security, automation, medical, and automotive.

       72.     The ’980 Patent is concerned with object detection.             Object detection —

determining and tracking what is within images and videos — is a vital part of the web and

specifically of social media and communications platforms. “The goal of object detection is to

predict a set of bounding boxes and category labels for each object of interest.”25 Meta uses object

detection on facebook.com to, for example, improve content moderation, target advertising,

describe objects for people with visual impairments, and, for many years, identify users in photos

and videos. And advances in detection could help Meta “in tagging products for associated display



       24
           See Ex. 68, Siemens Annual Report 2004, available at
https://www.siemens.com/investor/pool/en/investor_relations/downloadcenter/e04_00_gb2004_1
230305.pdf (last accessed May 24, 2022).
        25
           Ex. 26, Nicolas Carion, et al., End-to-End Object Detection with Transformers (May
28, 2020).



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within video content” as well as “applications related to AR and visual tools that could lead to

much more advanced, more immersive Facebook functions.”26 At base, “[t]he objective of object

detection is to develop computational models and techniques that provide one of the most basic

pieces of information needed by computer vision applications: What objects are where?”27

       73.     Yet, object detection presents fundamental challenges. What seems simple for a

human is a complex exercise for a computer, which in the past required great computational

resources. It is difficult to program a computer to know a cat from a dog or a car from a boat, and,

most importantly, to do so in a way that doesn’t require the programmer to manually identify all

possible objects. Object detection suffers from even more challenges: partially covered objects,

rotated objects, scaled objects (such as a small house in the background of a photo), etc. Video

presents the same difficulties and more. It was necessary to develop a way to quickly and

confidently identify objects in images and videos.

       74.     To address these problems, the inventors of the ’980 Patent came up with a method

to detect and track an object within a video by measuring the object as a collection of components

in each image and, using a spatio-temporal model, determining the probability that the object is in

any given image that makes up the video. This approach was completely unheard of in the field

of object detection, but after the invention of the ’980 Patent, its method was widely adopted.

While it was relatively common to “represent objects as collections of features with distinctive

appearance, spatial extent, and position,” it was unknown in the art to use those components in

object detection. See Ex. 5, ’980 Patent at col. 1, ll. 15-21. As is seen in Exhibits 26 and 28, the


       26
           Ex. 27, Facebook Outlines Advances in Computer Vision and Object Identification
Tech, SOCIAL MEDIA TODAY (Apr. 30, 2021),
https://www.socialmediatoday.com/news/facebook-outlines-advances-in-computer-vision-and-
object-identification-tec/599399 (last visited May 24, 2022).
        27
           Ex. 28, Zhengxia Zou, et al., Object Detection in 20 Years (May 16, 2019).


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’980 patent’s solution to the object detection problem was unknown at the time of the invention,

and even, but for the ’980 patent, for years after. They demonstrate the unique problems inherent

in object detection and highlight the inventive and concrete nature of the ’980 patent’s solutions.

       75.     Critical to the insight of the ’980 Patent is the use of a spatio-temporal model. “The

spatio-temporal model is a graphical model comprising nodes corresponding to each of the

collection of components and to the object.” ’980 Patent at col. 1, ll. 41-42. “Each node in the

graph represents either the object or a component of the object at time t.” ’980 Patent at col. 3, ll.

47-50. What that means is that the object (such as a pedestrian) and the components of that object

(which are discussed in more detail below) are mapped using both “the temporal compatibility of

object state between frames” (its state from second to second) and “the spatial compatibility of the

object and its components” within a single frame. Hence, both temporal and spatial mapping.

       76.     The inventors of the ’980 patent also recognized the value in taking a multi-layer

approach. See ’980 Patent at col. 4, ll. 18-19 (“Building the Graphical Model; For a single frame,

objects are represented using a two-later spatial graphical model.”). Before the invention, images

and videos were analyzed as a single layer — that is, the image as it appears. In the ’980 patent,

the image can artificially be made into two layers:          “The course, object [layer], [which]

corresponds to an entire appearance model of the object” and “[t]he fine, component [layer],

[which] includes a set of loosely connected parts.” ’980 Patent at col. 4, ll. 20-23. The object

layer is in turn “connected to all constituent components.” ’980 Patent at col. 4, ll. 23-24. An

example illustrates the two-layer innovation. For a pedestrian, the components might be the head,

the left arm, the right arm, and the legs. Thus, the component layer would be made up of nodes

corresponding to those components, while the object layer is just the object — the pedestrian.

“Having a two-layer graphical model allows the inference process to reason explicitly about the




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object as a whole . . . and reduce the complexity of the graphical model by allowing the assumption

of the conditional independence of components” ’980 Patent at col. 4, ll. 37-41. In addition to

speeding up object detection, the patented method, particularly the possibility of overlapping

components, “facilitates detection of complex articulated objects as well as helps in handling

partial object occlusions [e.g., partially covered items] or local illumination changes [e.g., changes

in light].” ’980 Patent at col. 2, ll. 51-54.

          77.   The inventors of the ’980 patent also developed ways to use the two-layer,

component model to determine the probability that an object is in the image, using a mixture of

Mij Gaussians, an iterative Expectation-Maximation (EM) Method, an interactive Expectation-

Maximation (EM) Method, and a non-parametric belief propagation PAMPAS, among other

techniques. ’980 Patent at col. 4, ll. 49 - col. 7, ll. 44. Using these innovations allow companies

(such as the Meta Companies) to quickly, accurately, and cheaply identify and track objects in

videos.

                                      ACCUSED PRODUCTS



          78.   The “Meta Coding Patents Accused Products” refers to all Meta products, services,

and functionalities that use H.264 entropy coding. This includes, for example, all versions and

implementations of www.facebook.com, Facebook applications, Facebook Live, Facebook Watch,

Workplace, and Facebook Messenger. It also includes the encoding/decoding of video (using

H.264) by Instagram, WhatsApp, Facebook Technologies, or Giphy that is at the direction, request,

or control of Meta.

          79.   The “Instagram Coding Patents Accused Products” refers to all Instagram products,

services, and functionalities that use H.264 entropy coding. This includes, for example, all




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versions and implementations of Instagram applications, Instagram Live, Instagram Stories, and

Instagram Messenger. It also includes the encoding/decoding of video (using H.264) by a Meta

Company that is at the direction, request, or control of Instagram.

       80.     On information and belief, in relevant aspects for the Instagram Coding Patents

Accused Products, Meta and Instagram act in concert with one another.

       81.     The “WhatsApp Coding Patents Accused Products” refers to all WhatsApp

products, services, and functionalities that use H.264 entropy coding. This includes, for example,

all versions and implementations of WhatsApp applications, WhatsApp Messaging, and

WhatsApp voice and video calls. It also includes the encoding/decoding of video (using H.264)

by a Meta Company that is at the direction, request, or control of WhatsApp.

       82.     On information and belief, in relevant aspects for the WhatsApp Coding Patents

Accused Products, Meta and WhatsApp act in concert with one another.

       83.     The “Facebook Technologies Coding Patents Accused Products” refers to all

Oculus (Quest) and Portal products, services, and functionalities that use H.264 entropy coding.

This includes, for example, all versions and implementations of Oculus Video, Oculus Rift, Oculus

Rift S, Oculus Go, Oculus Quest, Meta Quest 2, Portal, Portal Mini, Portal+, Portal TV, and Portal

Go. It also includes the encoding/decoding of video (using H.264) by a Meta Company that is at

the direction, request, or control of Facebook Technologies.

       84.     On information and belief, in relevant aspects for the Facebook Technologies

Coding Patents Accused Products, Meta and Facebook Technologies act in concert with one

another.

       85.     The “Giphy Coding Patents Accused Products” refers to all Giphy products,

services, and functionalities that use H.264 entropy coding. This includes, for example, all




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versions and implementations of www.giphy.com and Giphy video.              It also includes the

encoding/decoding of video (using H.264) by a Meta Company that is at the direction, request, or

control of Giphy.

       86.     On information and belief, in relevant aspects for the Giphy Coding Patents

Accused Products, Meta and Giphy act in concert with one another.

       87.     The “Meta Companies Coding Patents Accused Products” refers to the Meta

Coding Patents Accused Products, the Instagram Coding Patents Accused Products, the WhatsApp

Coding Patents Accused Products, the Facebook Technologies Coding Patents Accused Products,

and the Giphy Coding Patents Accused Products, collectively.

       88.     H.264 is the name for technology described in an industry standard that is widely

used to encode and decode streaming video. H.264 reduces the file size of video files without any

loss in quality of video, enabling companies to stream video in higher quality given the same

network bandwidth.

       89.     H.264 focuses on the coding of the picture portions of the video content. To this

end, H.264 defines a format, or syntax, for compressed video and a method for decoding this syntax

to produce a displayable video sequence.      An H.264 video encoder carries out prediction,

transform, and encoding processes to produce a compressed H.264 bitstream. An H.264 video

decoder carries out the complementary processes of decoding, inverse transform, and

reconstruction to produce a decoded video sequence.

       90.     H.264 has been the dominant industry standard for compressing video for

applications such as digital television, DVD video, video conferencing, and Internet video

streaming.   Standardizing video compression made it possible for products from different

manufacturers to inter-operate. Recommendation H.264: Advanced Video Coding is a video




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decoding standard published by the international standards bodies ITU-T (International

Telecommunication Union) and ISO/IEC (International Organisation for Standardisation /

International Electrotechnical Commission) (attached as Ex. 29). It defines a format (syntax) for

compressed video and a method for decoding this syntax to produce a displayable video sequence.

Products that support H.264 encoding and decoding are compliant with the H.264 standard.

       91.     In H.264, picture data can be coded using context-adaptive binary arithmetic coding

(“CABAC”) or context-adaptive variable-length coding (“CAVLC”). Each coding algorithm

provides different benefits. CABAC highly compresses the picture data, but is computationally

expensive to decode, while CAVLC is lower-complexity and more efficient.

       92.     The Meta Companies use H.264 coding to efficiently and seamlessly deliver video

to their customers.

       93.     On information and belief, and according to Meta, the Meta products use H.264

and support coding in H.264.28

       94.     On information and belief, and according to Meta and Instagram, the Instagram




       28
           See Ex. 30, How Facebook encodes your videos, ENGINEERING AT META (April 5,
2021), https://engineering.fb.com/2021/04/05/video-engineering/how-facebook-encodes-your-
videos (last visited May 24, 2022); Ex. 31, Live Video API-Reference, META FOR DEVELOPERS
(2022), https://developers.facebook.com/docs/live-video-api/reference (last visited May 24,
2022); Ex. 69, Automatic Encoder Configuration API, META FOR DEVELOPERS (2020),
https://developers.facebook.com/docs/live-video-api/guides/automatic-encoder-configuration-api
(last visited May 24, 2022); Ex. 32, Graph API Version-Video Format, META FOR DEVELOPERS
(2020), https://developers.facebook.com/docs/graph-api/reference/video-format (last visited May
24, 2022); Ex. 33, What video file formats can I upload on Facebook?, FACEBOOK HELP CENTER
(2022), https://www.facebook.com/help/218673814818907 (last visited May 24, 2022); Ex. 34
How do I optimize the quality of videos when uploading them to Workplace?, WORKPLACE
(2022), https://www.facebook.com/help/work/touch/885144448260143 (last visited May 24,
2022).



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products use H.264 and support coding in H.264.29

       95.    On information and belief, and according to Meta and WhatsApp, the WhatsApp

products use H.264 and support coding in H.264.30

       96.    On information and belief, and according to Meta and Facebook Technologies, the

Facebook Technologies products use H.264 and support coding in H.264.31

       97.    On information and belief, and according to Meta and Giphy, the Giphy products

use H.264 and support coding in H.264.32


       29
            See Ex. 35, Sharing to Stories, META FOR DEVELOPERS (2020),
https://developers.facebook.com/docs/instagram/sharing-to-stories (last visited May 24, 2022);
Ex. 36, The Best Instagram Video Format And Specifications In 2022, OBERLO (Dec. 29, 2021),
https://www.oberlo.com/blog/best-instagram-video-format (last visited May 24, 2022).
         30
            Ex. 37, WhatsApp Business On-Premises API-Media, META FOR DEVELOPERS (2020),
https://developers.facebook.com/docs/whatsapp/on-premises/reference/media (last visited May
24, 2022); Ex. 38, WhatsApp Business On-Premises API-Media, META FOR DEVELOPERS (2020),
https://developers.facebook.com/docs/whatsapp/api/messages/media (last visited May 24, 2022);
Ex. 39, WhatsApp Business Platform- On-Premises API Changelog Archive, META FOR
DEVELOPERS (2020), https://developers.facebook.com/docs/whatsapp/changelog/archive (last
visited May 24, 2022); Ex. 40, What Video does WhatsApp Support?, LEAWO (2022),
https://www.leawo.org/entips/whatapp-supported-video-1372.html (last visited May 24, 2022);
Ex. 41, WABetaInfo (@WABetaInfo) Twitter (Sept. 24, 2016, 5:06),
https://twitter.com/wabetainfo/status/779789143928926209.
         31
            Ex. 42, Encoding High-Resolution 360 and 180 Video for Oculus Quest and Oculus
Go, OCULUS FOR DEVELOPERS (Oct. 15, 2019), https://creator.oculus.com/blog/encoding-high-
resolution-360-and-180-video-for-oculus-go (last visited May 24, 2022); Ex. 43, How does
Oculus Link Work? The Architecture, Pipeline and AADT Explained, OCULUS FOR DEVELOPERS
(Nov. 22, 2019), https://developer.oculus.com/blog/how-does-oculus-link-work-the-architecture-
pipeline-and-aadt-explained (last visited May 24, 2022); Ex. 44, Oculus HD, accessible at
https://silentsentinel.com/wp-content/uploads/2021/06/Oculus-HD-Datasheet-V4.1.pdf (last
accessed May 24, 2020); Ex. 45, Publishing to Oculus Video, OCULUS CREATORS,
https://creator.oculus.com/distribute/oculus-
video/#:~:text=3840x1920%20resolution%20at%2030%20FPS,2048x2048%20resolution%20at
%2060%20FPS (last visited May 24, 2022).
         32
            Ex. 46, How to make GIFs with FFMPEG, GIPHY ENGINEERING (Mar. 29, 2018),
https://engineering.giphy.com/how-to-make-gifs-with-ffmpeg (last visited May 24, 2022); Ex.
47, How Video Formats Work, GIPHY ENGINEERING (Jan. 31, 2018),
https://engineering.giphy.com/how-video-formats-work (last visited May 24, 2022); Ex. 70,
Doing it Live at GIPHY (with AVFoundation), GIPHY ENGINEERING (Jul. 27, 2018),



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       98.     The “Meta ’682 Accused Products” refers to all Meta products, services, and

functionalities that implement, in whole or in part, Web Real-Time Communication (“WebRTC”)

or Secure Real-Time Transport Protocol (SRTP). This includes, for example, all versions and

implementations of www.facebook.com, Facebook applications, Facebook Live, Facebook Watch,

Workplace, and Facebook Messenger. It also includes the use of WebRTC or SRTP by any other

Meta Company that is at the direction, request, or control of Meta.

       99.     The “Instagram ’682 Accused Products” refers to all Meta products, services, and

functionalities that implement, in whole or in part, WebRTC or SRTP. This includes, for example,

all versions and implementations of Instagram applications, Instagram Live, Instagram Live Video

Chat, Instagram Stories, and Instagram Messenger. It also includes the use of WebRTC or SRTP

by any other Meta Company that is at the direction, request, or control of Instagram.

       100.    On information and belief, in relevant aspects for the Instagram ’682 Accused

Products, Meta and Instagram act in concert with one another.

       101.    The “WhatsApp ’682 Accused Products” refers to all WhatsApp products, services,

and functionalities that implement, in whole or in part, WebRTC or SRTP. This includes, for

example, all versions and implementations of WhatsApp applications, WhatsApp Messaging, and

WhatsApp voice and video calls. It also includes the use of WebRTC or SRTP by any other Meta

Company that is at the direction, request, or control of WhatsApp.

       102.    On information and belief, in relevant aspects for the WhatsApp ’682 Patents

Accused Products, Meta and WhatsApp act in concert with one another.




https://engineering.giphy.com/doing-it-live-at-giphy-with-avfoundation (last visited May 24,
2022).


                                               31
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       103.   The “Facebook Technologies ’682 Accused Products” refers to all Facebook

Technologies ’682 products, services, and functionalities that implement, in whole or in part,

WebRTC or SRTP. This includes, for example, all versions and implementations of Oculus Video,

Oculus Rift, Oculus Rift S, Oculus Go, Oculus Quest, Meta Quest 2, Portal, Portal Mini, Portal+,

Portal TV, and Portal Go. It also includes the use of WebRTC or SRTP by any other Meta

Company that is at the direction, request, or control of Facebook Technologies.

       104.   On information and belief, in relevant aspects for the Facebook Technologies ’682

Patents Accused Products, Meta and Facebook Technologies act in concert with one another.

       105.   The “Meta Companies ’682 Accused Products” refers to the Meta ’682 Accused

Products, the Instagram ’682 Accused Products, the WhatsApp ’682 Accused Products, and the

Facebook Technologies’682 Accused Products, collectively.

       106.   WebRTC facilitates secure, real-time communication by permitting a web browser

to request backend resources using available application programming interfaces, or APIs.

       107.   The Meta Companies use WebRTC to provide secure, real-time communication

across browsers and mobile applications using WebRTC’s APIs in the provision of digital video.

       108.   On information and belief, all of the Meta Companies ’682 Accused Products use

WebRTC, including Facebook Messenger Video Chat, Facebook Messenger Group Video Chat,

Facebook Live, and VR Chat.33 “Facebook’s mobile app and web client (accessible through a web



       33
           SFHTML5, Facebook Messenger RTC – The Challenges and Opportunities of Scale,
YouTube (Oct. 27, 2017), https://www.youtube.com/watch?v=F7UWvflUZocat, at 0:49-2:00;
Ex. 49, WebRTC and SIP: 10 Applications that Might Surprise You, TELNYX (Sept. 17, 2020),
https://telnyx.com/resources/5-applications-that-demonstrate-the-power-of-webrtc-and-sip (last
visited May 24, 2022); Ex. 50, 10 Massive Applications Using WebRTC, BLOGGEEK.ME (Dec.
18, 2017), https://bloggeek.me/massive-applications-using-webrtc (last visited May 24, 2022);
Ex. 51, Oculus Browser Developer Release Notes, OCULUS FOR DEVELOPERS,
https://developer.oculus.com/documentation/web/browser-release-notes (last visited May 24,



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browser) are both powered by WebRTC. By using Web Real-Time Communications, Messenger

has brought voice and video calls to its users, and more recently, allows for co-broadcasting via

Facebook Live. Additionally, Facebook has also incorporated WebRTC in VR Chat for video calls

in Oculus, Workplace by Facebook, and IG Live Video Chat.”34 “[A]s a result, they have made

communication across boundaries quicker and more reliable.”35

       109.   “Over 400 million people call or video chat one another through Facebook

Messenger using WebRTC every month.”36 “More than 1.3B people use Messenger every month,”

with “400M people us[ing] voice and video chat every month.”37 Facebook Messenger is the “2nd

most popular iOS app of all time” and has “1B downloads on Android.”38

       110.   Meta wants “to have the best media quality for all users.”39 Given the scale of

Meta’s products, this is a “really hard challenge.”40 Meta bases its peer-to-peer communications

on “WebRTC” as part of its strategy.41 “Facebook is worth nearly $245 billion, when it makes use


2022); Ex. 52, When Whatsapp Adds Voice Calling, WebRTC will be Used by 500 Million Users,
BLOGGEEK.ME (MAY 22, 2014) https://bloggeek.me/whatsapp-voice-calling-webrtc (last visited
May 24, 2022).
        34
           Ex. 53, 8 Powerful Applications Built Using WebRTC, UNITED WORLD TELECOM BLOG
https://www.unitedworldtelecom.com/learn/webrtc-applications (last visited May 24, 2022).
        35
           Id.
        36
           SFHTML5, Facebook Messenger RTC – The Challenges and Opportunities of Scale,
YouTube (Oct. 27, 2017), https://www.youtube.com/watch?v=F7UWvflUZoc.
        37
           Id. at 2:13.
        38
           Id.
        39
           Id. at 6:30
        40
           Id. at 6:39.
        41
           Id. at 2:44; Ex. 54, Facebook is right to defend the security of Messenger, and the
solution is adding more security, ACCESS NOW (August 23, 2018),
https://www.accessnow.org/facebook-is-right-to-defend-the-security-of-messenger-and-the-
solution-is-more-security (last visited May 24, 2022) (“Facebook’s Messenger, including the
voice (VoIP – Voice over Internet Protocol) functionality, utilizes an open protocol called
WebRTC (Web Real Time Communications).”).



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of a new technology such as WebRTC to enable audio/video calls, 600 million users make that

technology (WebRTC) important. Not only does WebRTC gain incredible visibility in this use

case, it also gets Facebook’s vote of confidence opening the door for many others in the arena to

follow suit.”42

       111.       According to Meta, it “rewr[o]te [its] existing library from scratch using the latest

version of the open source WebRTC library.43 In fact, Facebook Messenger has been described

as “one of, if not the, largest group of users using a WebRTC based applications.”44 Similarly,

“WhatsApp has grown into a global messaging platform connecting users from around the globe

quickly” and its “Android and iOS apps heavily use WebRTC . . . .”45



       112.       “The Meta Companies ’980 Accused Products” refers to all Meta, Instagram,

WhatsApp, Facebook Technologies, or Giphy products, services, functionalities, and features that

implement, in whole or in part, object identification abilities. This includes, for example, all

versions and implementations of Detectron, Detectron2, and D2Go.

       113.       On information and belief, in relevant aspects for the Meta Companies ’980

Accused Products, the Meta Companies act in concert with one another.




       42
           Ex. 55, Why Does Facebook Use WebRTC?, VERAVIEW BLOG (Jul. 16, 2015),
http://veraview.com/what-is-webrtc (last visited May 24, 2022).
        43
           See Ex. 56, A smaller, faster video calling library for our apps, ENGINEERING AT META
(Dec. 21, 2020), https://engineering.fb.com/2020/12/21/video-engineering/rsys (last visited May
24, 2022).
        44
           Ex. 57, Facebook Messenger – The Biggest WebRTC App?, WEBRTC WORLD (Jan. 13,
2016), https://www.webrtcworld.com/topics/webrtc-world/articles/415961-facebook-messenger-
biggest-webrtc-app.htm (last visited May 24, 2022).
        45
           Ex. 53, 8 Powerful Applications Built Using WebRTC, UNITED WORLD TELECOM BLOG
https://www.unitedworldtelecom.com/learn/webrtc-applications (last visited May 24, 2022).



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        114.    “Detectron2 is Facebook AI Research’s next generation library that provides state-

of-the-art detection and segmentation algorithms . . . . It supports a number of computer vision

research projects and production applications in Facebook.”46 “Since its release in 2018, the

Detectron object detection platform has become one of Facebook AI Research (FAIR)’s most

widely adopted open source projects.”47 The Meta Companies “built Detectron2 to meet the

research needs of Facebook AI and to provide the foundation for object detection in production

use cases at Facebook.”48       The Meta Companies are “expanding on Detectron2 with the

introduction of Detectron2Go (D2Go), a new, state-of-the-art extension for training and deploying

efficient deep learning object detection models on mobile devices and hardware.”49 “D2Go is

already being used in Facebook’s own development of computer vision models, specifically within

FRL, where having hardware-aware, real-time models is essential for providing a great user

experience – Facebook’s 3D Photos feature being one such example.”50

                        ALLEGATIONS OF PATENT INFRINGEMENT

                                     COUNT I
                       INFRINGEMENT OF U.S. PATENT NO. 8,139,878

        115.    VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

        116.    VL is the assignee and lawful owner of all right, title, and interest in and to the ’878


        46
            Ex. 58, Detectron2, GITHUB (Nov. 15, 2021),
https://github.com/facebookresearch/detectron2 (last visited May 24, 2022).
        47
            Ex. 59, Detectron2: A PyTorch-based modular object detection library, META AI (Oct.
10, 2019), https://ai.facebook.com/blog/-detectron2-a-pytorch-based-modular-object-detection-
library- (last visited May 24, 2022).
        48
            Id.
        49
            Ex. 48, D2Go brings Detectron2 to mobile, META AI (Mar. 4, 2021),
https://ai.facebook.com/blog/d2go-brings-detectron2-to-mobile/ (last visited May 24, 2022).
        50
            Id.


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Patent. The ’878 Patent is valid and enforceable.

       117.    On information and belief, the Meta Companies have infringed and continue to

infringe the ’878 Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine

of equivalents, by making, using, selling, offering for sale, and/or importing into the United States

products and/or methods that practice at least claim 1 of the ’878 Patent, including with respect to

the Meta Companies Coding Patents Accused Products.

       118.    On information and belief, the Meta Companies use the Meta Companies Coding

Patents Accused Products for their own business purposes. In addition, the Meta Companies

regularly conduct testing and troubleshooting of the Meta Companies Coding Patents Accused

Products.51 Further, VideoLabs believes companies related to the Meta Companies (e.g., other

subsidiaries) use the ’878 Meta Companies Accused Products.

       119.    On information and belief, the Meta Companies’ infringement through their use of

H.264 entropy encoding, described below, is exemplary of all of the Meta Companies’

infringement with respect to all the Meta Companies Coding Patents Accused Products.

       120.    The Meta Companies Coding Patents Accused Products directly infringe at least

claim 1 of the ’878 Patent, for example, by performing variable length encoding of blocks of

picture data using the block data, inter-, intra-, and context-aware prediction to generate a

predictive block, calculating a residual block using orthogonal transformation and quantization,

and using the number of non-zero coefficients in the predicted block to encode the picture data at

the encoder.

       121.    Each of the Meta Companies Coding Patents Accused Products meet every


       51
          See, e.g., SFHTML5, Facebook Messenger RTC – The Challenges and Opportunities
of Scale, YouTube (Oct. 27, 2017), https://www.youtube.com/watch?v=F7UWvflUZoc, at
10:24-12:06


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limitation of claim 1 of the ’878 Patent, which recites:

               1. A transmitting apparatus which transmits multiplexed data which is obtained
               by multiplexing coded audio data and coded picture data, said transmitting
               apparatus comprising:
               an audio processing unit configured to code audio data to
               obtain coded audio data
               a picture coding unit configured to code picture data to
               obtain coded picture data; and
               a multiplexing unit configured to multiplex the coded audio
               data and the coded picture data to obtain multiplexed
               data,
               wherein said picture coding unit includes a block decoding unit
               configured to code a block image to obtain coded block data, the
               block image being obtained by dividing a picture signal into plural
               blocks, generating a residual block image from a block image of the
               respective blocks and a predictive block image obtained by intra-
               picture prediction or inter-picture prediction, and coding, on a block
               basis, coefficients obtained by performing orthogonal
               transformation and quantization on the residual block image,
               wherein said block coding unit includes:
               a coefficient number coding unit configured to code a total number
               of non-zero coefficients included in a current block to be coded,
               each of the non-zero coefficients being a coefficient having a value
               other than “0”;
               wherein said coefficient number coding unit includes:
               a determining unit configured to determine a predictive value for the
               number of non-zero coefficients included in the current block based
               on the number of non-zero coefficients included in a coded block
               located on a periphery of the current block;
               a selecting unit configured to select a variable length code table
               based on the determined predictive value; and
               a variable length coding unit configured to perform variable length
               coding on the total number of the non-zero coefficients included in
               the current block, by using the selected variable length code table.
       122.    Each of the Meta Companies Coding Patents Accused Products includes a

transmitting apparatus that transmits multiplexed data, which is obtained by multiplexing coded

audio data and coded picture data. H.264 carries audio and video multiplexed in a single stream.

H.264 is directed to the picture portion of video, so devices containing H.264 encoders and


                                                 37
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decoders must multiplex/demultiplex audio and picture data in order to provide the H.264 picture

data. Encoders multiplex the audio and pictures into a single stream, so that decoders receive the

complete video presentation, including sound. Decoders receive the complete video presentation,

including sound, and decode the stream to recreate the video. In the ISO Media File Format, which

each accused Meta Companies Coding Patents product is capable of processing, a coded stream

such as an H.264 video sequence or an audio stream is stored as a track, representing a sequence

of coded data items or samples. Figure 8.32, below, illustrates an example of such multiplexed

data, in which coded audio data (“audio track samples”) and coded picture data (“video track

samples”) are multiplexed together.




Ex. 23, Richardson, at 247.

       123.    The Meta Companies Patents Accused Products have an audio processing unit

configured to code audio data to obtain coded audio data. For example, the Meta Companies

Coding Patents Accused Products incorporate an audio codec that is configured to code audio data

according to an input format, including without limitation, AAC. The audio data is encoded as

coded audio data (“audio track samples”).

       124.    The Meta Companies Coding Patents Accused Products further include a picture

coding unit configured to code picture data to obtain coded picture data. For example, the Meta

Companies Coding Patents Accused Products incorporate a H.264 video codec that is configured

to code picture data to generate a H.264-compliant bitstream. The picture data is encoded as coded


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picture data (“video track samples”).

        125.   The Meta Companies Coding Patents Accused Products include a multiplexing unit

configured to multiplex the coded audio data and the coded picture data into multiplexed data.

Encoders multiplex the audio track samples and video track samples so that decoders receive the

complete video presentation, including sound. One representative example of multiplexed data

generated by the Meta Companies Coding Patents Accused Products is shown in Figure 8.32

below, which shows the multiplexed stream of an ISO Media File including both coded audio track

data and coded video track data.




Id. at 247.

        126.   The picture coding unit in the Meta Companies Coding Patents Accused Products

includes a block coding unit configured to code a block image to obtain coded block data, the

block image being obtained by dividing a picture signal into plural blocks.

        127.   In the Meta Companies Coding Patents Accused Products picture data is coded by

an H.264-compliant encoder by dividing a picture signal into macroblocks, as shown in Figure 6-

7:




                                               39
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See ITU-T H.264, Series H: Audiovisual and Multimedia Systems, Infrastructure of audiovisual

services – Coding of moving video, Advanced video coding for generic audiovisual services,

Section 6.3, p. 25 (03/2009), at Figure 6-7.

       128.    The macroblock consists of a 16 x 16 block of luma samples and two corresponding

blocks of chroma samples. A macroblock can be further partitioned for inter-prediction forming

segmentations for motion representation as small as a block of 4 x 4 luma samples.52

       129.    In the Meta Companies Coding Patents Accused Products a residual block image

is generated from the block image of the respective blocks and a predictive block image is obtained

by intra-picture prediction or inter-picture prediction by an H.264-complaint encoder.         For

example, Figure 6.6 below shows a picture signal to be coded, with the macroblock being coded

highlighted. The macroblock is predicted using neighboring, previously-encoded samples, as

shown in Figure 6.7; because this prediction looks only to the other macroblocks of the same

picture, this is called intra-picture prediction. The predicted macroblock is shown in Figure 6.7.

Figure 6.8 shows the prediction (Figure 6.7) subtracted from the original (Figure 6.6), which is

called the residual.



       52
          See generally Ex. 60, ITU-T H.264, Series H: Audio Visual and Multimedia Systems,
Infrastructure of Audiovisual Services – Coding of Moving Video, Advanced Video Coding for
Generic Audio Visual Services [hereinafter “H.264 Standard”], Section 0.6.3, p. 5 (09/2019).


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Ex. 23, Richardson at 141-143.

       130.      The Meta Companies Coding Patents Accused Products can use intra- and inter-

picture coding on the macroblocks of a picture signal. Inter-picture coding predicts the value of

the macroblock using temporal statistical dependencies between different pictures. Both types of

prediction can be used by the H.264-compliant encoder to calculate the residual.

       131.      In the Meta Companies Coding Patents Accused Products the H.264-compliant

encoder codes, on a block basis, coefficients obtained by performing orthogonal transformation

and quantization on the residual block image. H.264 specifies an entropy_coding_mode flag that

dictates the entropy encoding algorithm used to encode the picture data. When this flag is set to

“0” the residual block data is coded using a CAVLC scheme.53 In such case, the resulting

prediction residual is split into 4x4 blocks, and transformation and quantization are applied. An

integer transform is applied to the residual, outputting a set of coefficient weighting values. This

process is shown in the figures below:




       53
            See Ex. 60, H.264 Standard, Section 7.4.2.2, pp. 81-82 (09/2019).


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Ex. 23, Richardson, at 47.




Ex. 23, Richardson, at 88.

       132.    The coefficients are then quantized, meaning that insignificant coefficient values

are rounded down (for example, to zero), while a small number of significant, non-zero coefficients

are retained. The quantization step is shown in Figure 4.12:




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Ex. 23, Richardson, at 88.

       133.    The encoding process is shown in Figure 4.4:




Ex. 23, Richardson, at 84.

       134.    In the Meta Companies Coding Patents Accused Products the block coding unit

includes a coefficient number coding unit configured to code a total number of non-zero

coefficients included in a current block to be coded, where each of the non-zero coefficients having

a value other than “0”. In H.264 CAVLC encoding generally, which the Meta Companies Coding

Patents Accused Products support, the total number of non-zero coefficients included in a current

block to be coded is derived in order to generate a H.264-compliant bitstream.

       135.    To this end, the coefficient number coding unit in the Meta Companies Coding


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Patents Accused Products includes a determining unit configured to determine a predictive value

for the number of non-zero coefficients included in the current block based on the number of non-

zero coefficients included in a block located on a periphery of the current block. Since CAVLC

is a context-adaptive variable length coding technique, the number of non-zero coefficients in

neighboring blocks is correlated as part of the entropy coding process. An H.264-compliant

encoder uses previously-processed macroblocks to help encode the currently-processed

macroblock.      The number of non-zero coefficients in previously-processed blocks on the

periphery—including the blocks to the left and above the current macroblock—are used to predict

the number of non-zero coefficients in the current block. This use of the blocks of the periphery

is shown in Figure 6-14:




Ex. 60, H.264 Standard, at 33.

       136.      The H.264-compliant encoder in the Meta Companies Coding Patents Accused

Products obtains the number of non-zero coefficients in the left and above blocks to set the variable

nC, the prediction of the current macroblock’s number of non-zero coefficients based on the

neighboring macroblocks’ number of non-zero coefficients.54

       137.      The coefficient number coding unit in the Meta Companies Coding Patents

Accused Products also includes a selecting unit configured to select a variable length code table


       54
            See Ex. 60, H.264 Standard, Section 9.2.1, pp. 214-216 (09/2019).


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based on the determined predictive value. The H.264-compliant encoder in the Meta Companies

Coding Patents Accused Products uses the predictive value nC to select one of six variable length

coding tables specified in Table 9-5 of the H.264 standard in order to generate a H.264-compliant

bitstream.55

       138.      This selection of a variable length code table based on a determined predictive value

is exemplified in Figure 7.19:




Ex. 23, Richardson at 211.

       139.      The coefficient number coding unit in the Meta Companies Coding Patents

Accused Products further includes a variable length coding unit configured to perform variable

length coding on the number of the non-zero coefficients included in the current block, by using

the selected variable length code table. Figure 7.19, supra, shows a Context-Adaptive Variable-

Length Coding (“CAVLC”) coding unit. The unit uses the selected variable length code table to

perform variable length coding on the syntax element coeff_token representing the number of non-


       55
            See Ex. 60, H.264 Standard, Section 9.2.1 and Table 9-5, pp. 214-218 (09/2019).



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zero coefficients of the current macroblock to generate a H.264-compliant bitstream.56

       140.    VideoLabs representatives reached out to Meta representatives at least as early as

October 2, 2019 regarding VideoLabs’ platform and to gauge the Meta Companies’ interest in

joining as a partner or member.       In October, 2019, VideoLabs representatives presented

VideoLabs’ platform to representatives of the Meta Companies. VideoLabs representatives and

Meta representatives spoke between December and February, and met in person on January 30,

2020, during which VideoLabs presented them with an updated proposal. On June 3, 2020,

VideoLabs representatives reached out again and stated that “With regards to Facebook, and based

on our analysis so far, we have determined that VideoLabs’ current patent portfolio is relevant to

the majority of Facebook’s annual revenue in some way and we have 17 unique claim charts

completed or in development (and other evidence of use) so far related to Facebook Messenger,

Facebook Live, Oculus, Instagram, Facebook Workplace, Portal, Facebook Ads, and backend

infrastructure” and asked them to engage in “good faith licensing discussions” under a proposed

NDA. VideoLabs representatives sent another updated proposal on March 23, 2020. VideoLabs

representatives reached out again on June 26, 2020, March 16, 2021, and May 4, 2021 to “request[]

good faith licensing negotiations” regarding the number of patents relevant to Facebook and other

Meta services. On June 26, 2020, VideoLabs confirmed in an email that representatives of the

Meta Companies said on a recent call that the Meta Companies were not interested in good faith

licensing discussions. To date, months later, the Meta Companies have not reengaged with

VideoLabs.




       56
         See generally Ex. 60, H.264 Standard, Section 9.2.1 and Table 9-5, pp. 214-218
(09/2019).


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       141.    The Meta Companies of course know how their products operate, and on

information and belief, they investigated the ’878 Patent and the infringement of the Meta

Companies Coding Patents Accused Products. The Meta Companies have been given further

notice of the ’878 Patent and their infringement of the ’878 Patent through VideoLabs’ May 23,

2022 letter and the filing of this Complaint. On information and belief, the Meta Companies are

either knowingly infringing the ’878 Patent or are willfully blind to their infringement, and

continue to act in wanton disregard of VideoLabs’ patent rights.

       142.    Despite becoming aware of or willfully blinding themselves to their infringement

of the ’878 Patent, the Meta Companies have nonetheless continued to engage in and have

escalated their infringing activities by continuing to develop, advertise, make available, and use

the infringing functionalities of the Meta Companies Coding Patents Accused Products. On

information and belief, the Meta Companies have made no attempts to design around the ’878

Patent or otherwise stop their infringing behavior.

       143.    The Meta Companies’ infringement of the ’878 Patent therefore has been and

remains willful.

       144.    The Meta Companies also indirectly infringe the ’878 Patent by inducing others to

infringe and contributing to the infringement of others, including other Defendants, third party

users of the Meta Companies Patents Accused Products in this District and throughout the United

States. As described above, on information and belief, the Meta Companies have known about the

family of patents including the ’878 Patent since at least January 30, 2020, and have known about

the ’878 Patent since May 23, 2021.

       145.    On information and belief, the Meta Companies have actively induced the

infringement of the ’878 Patent under 35 U.S.C. § 271(b) by actively inducing the infringement of




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the Meta Companies Coding Patents Accused Products by third parties in the United States. The

Meta Companies knew or were willfully blind to the fact that their conduct would induce these

third parties to act in a manner that infringes the ’878 Patent in violation of 35 U.S.C. § 271(a).

       146.    The Meta Companies actively encouraged and continue to actively encourage third

parties to directly infringe the ’878 Patent by, for example, marketing the Coding Patents Accused

Products and infringing functionalities to consumers; working with consumers to implement,

install and/or operate the Coding Patents Accused Products and infringing functionalities; fully

supporting and managing consumers’ continuing use of the Coding Patents Accused Products and

infringing functionalities; and providing technical assistance to consumers during their continued

use of the Coding Patents Accused Products and infringing functionalities.57

       147.    On information and belief, the Meta Companies contributorily infringe the ’878



       57
           See e.g., Ex. 71, Using Facebook-Your Photos and Videos-Videos, FACEBOOK HELP
CENTER (2022), https://www.facebook.com/help/1738143323068602 (last visited May 24,
2022); Ex. 72, I can’t add a video on Facebook, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/215726848451641 (last visited May 24, 2022); Ex. 73, Audio
and Video Calling, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/messenger-app/1673374996287506 (last visited May 24, 2022);
Ex. 74, How do I video chat with someone or a group in Messenger?, FACEBOOK HELP CENTER
(2022), https://www.facebook.com/help/messenger-app/1414800065460231 (last visited May
24, 2022); Ex. 75, Instagram Features-Videos, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/381435875695118 (last visited May 24, 2022); Ex. 76, How do I
share a video on Instagram?, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/456185931138729 (last visited May 24, 2022); Ex. 77, How do I
share my video on Instagram to my Facebook Page?, INSTAGRAM HELP CENTER (2022),
https://www.facebook.com/help/instagram/486878428409681 (last visited May 24, 2022); Ex.
78, Oculus Support, https://www.youtube.com/channel/UCxLTeQQFvA5_eb0VkrLIq6w (last
visited May 24, 2022); Ex. 79, Viewing your own 360 videos on your Gear VR; META,
https://support.giphy.com/hc/en-us/articles/360019674452-How-To-Make-A-GIF (last visited
May 24, 2022); Ex. 80, How to make a video call, WHATSAPP,
https://faq.whatsapp.com/android/voice-and-video-calls/how-to-make-a-video-call/?lang=en (last
visited May 24, 2022); Ex. 81, I get a message that my video is too long and it won’t send,
META, https://faq.whatsapp.com/general/i-get-a-message-that-my-video-is-too-long-and-it-wont-
send/?lang=en (last visited May 24, 2022).


                                                 48
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Patent under 35 U.S.C. § 271(c) by importing, selling, and/or offering to sell within the United

States the Meta Companies Coding Patents Accused Products (or components thereof) that

constitute a material part of the claimed invention and are not staple articles of commerce suitable

for substantial non-infringing use. For example, the hardware and/or software for encoding

content with H.264 using CAVLC is material, has no insubstantial non-infringing uses, and is

known by the Meta Companies to be especially made or adapted for use in a manner that infringes

the ’878 Patent.

                                     COUNT II
                       INFRINGEMENT OF U.S. PATENT NO. 7,769,238

        148.    VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

        149.    VL is the assignee and lawful owner of all right, title, and interest in and to the ’238

Patent. The ’238 Patent is valid and enforceable.

        150.    On information and belief, the Meta Companies have infringed and continue to

infringe the ’238 Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine

of equivalents, by making, using, selling, offering for sale, and/or importing into the United States

products and/or methods that practice claim 1 of the ’238 Patent, including with respect to the

Meta Companies Coding Patents Accused Products.

        151.    On information and belief, the Meta Companies use the Meta Companies Coding

Patents Accused Products for their own business purposes. In addition, the Meta Companies

regularly conduct testing and troubleshooting of the Meta Companies Coding Patents Accused




                                                  49
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Products.58 Further, VideoLabs believes companies related to the Meta Companies (e.g., other

subsidiaries) use the ’238 Meta Companies Accused Products.

       152.    On information and belief, the Meta Companies’ infringement through its use of

H.264 entropy decoding, described below, is exemplary of all of their infringement with respect

to all the Meta Companies Coding Patents Accused Products.

       153.    The Meta Companies Coding Patents Accused Products directly infringe claim 1

of the ’238 Patent by performing variable length decoding of coded blocks of picture data using

the coded block data, inter-, intra-, and context-aware prediction to generate a predictive block,

calculating a residual block using orthogonal transformation and quantization, and using the

number of non-zero coefficients in the predicted block to reconstruct the picture data at the

decoder.

       154.    Each of the Meta Companies Coding Patents Accused Products meet every

limitation of claim 1 of the ’238 Patent, which recites:

               1. A receiving apparatus which receives multiplexed data which is obtained by
               multiplexing coded audio data and coded picture data, said receiving apparatus
               comprising:
               a demultiplexing unit configured to separate the multiplexed data
               into the coded audio data and the coded picture data;
               an audio processing unit configured to decode the separated coded
               audio data; and
               a picture decoding unit configured to decode the separated coded
               picture data,
               wherein said picture decoding unit includes a block decoding unit
               configured to decode coded block data included in the coded picture
               data, the coded block data being obtained by dividing a picture
               signal into plural blocks, generating a residual block image from a
               block image of the respective blocks and a predictive block image

       58
          See, e.g., SFHTML5, Facebook Messenger RTC – The Challenges and Opportunities
of Scale, YouTube (Oct. 27, 2017), https://www.youtube.com/watch?v=F7UWvflUZoc, at
10:24-12:06


                                                 50
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               obtained by intra-picture prediction or inter-picture prediction, and
               coding, on a block basis, coefficients obtained by performing
               orthogonal transformation and quantization on the residual block
               image,
               said block decoding unit includes:
               a coefficient number decoding unit configured to decode the coded
               block data to obtain the number of non-zero coefficients which are
               coefficients included in a current block to be decoded and having a
               value other than “0”;
               a unit configured to obtain coefficients corresponding to a residual
               block image of the current block by decoding the coded block data;
               a unit configured to obtain the residual block image of the current
               block by performing inverse quantization and inverse orthogonal
               transformation on the coefficients corresponding to the residual
               block image of the current block; and
               a reproducing unit configured to reproduce a block image of the
               current block, from the obtained residual block image and a
               predictive block image obtained by intra-picture prediction or inter-
               picture prediction,
               said coefficient number decoding unit includes:
               a determining unit configured to determine a predictive value for the
               number of non-zero coefficients included in the current block based
               on the number of non-zero coefficients included in a decoded block
               located on a periphery of the current block;
               a selecting unit configured to select a variable length code table
               based on the determined predictive value; and
               a variable length decoding unit configured to perform variable
               length decoding on a coded stream which is generated by coding the
               number of the non-zero coefficients included in the current block,
               by using the selected variable length code table.
       155.    Each of the Meta Companies Coding Patents Accused Products includes a receiving

apparatus that receives multiplexed data, which is obtained by multiplexing coded audio data and

coded picture data. H.264 carries audio and video multiplexed in a single stream. H.264 is directed

to the picture portion of video, so devices containing H.264 encoders and decoders must

multiplex/demultiplex audio and picture data in order to obtain the H.264 picture data. Encoders

multiplex the audio and pictures into a single stream, so that decoders receive the complete video



                                                51
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presentation, including sound. Decoders receive the complete video presentation, including sound,

and decode the stream to recreate the video. In the ISO Media File Format, which each accused

H.264 product is capable of processing, a coded stream such as an H.264 video sequence or an

audio stream is stored as a track, representing a sequence of coded data items or samples. Figure

8.32, below, illustrates an example of such multiplexed data, in which coded audio data (“audio

track samples”) and coded picture data (“video track samples”) are multiplexed together.




Ex. 23, Richardson, at 247.

       156.   The Meta Companies Coding Patents Accused Products include a demultiplexing

unit configured to separate the multiplexed data into the coded audio data and the coded picture

data. Since the coded audio data and the coded picture data are decoded by separate respective

decoders, it is necessary to first demultiplex the audio track samples and video track samples in

order to reproduce the encoded data in its entirety. Figure 8.32 below shows the multiplexed

stream of an ISO Media File as received at the demultiplexing unit, which includes coded audio

data (“audio track samples”) and coded picture data (“video track samples”). The coded audio

data and the coded picture data are demultiplexed and sent to respective decoders for further

processing.




                                               52
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Ex. 23, Richardson, at 247.

       157.    The Meta Companies Coding Patents Accused Products have an audio processing

unit configured to decode the separated coded audio data. For example, the Meta Companies

Coding Patents Accused Products incorporate an audio codec that is configured to decode audio

data according to an input format, including without limitation, AAC.

       158.    The Meta Companies Coding Patents Accused Products further include a picture

decoding unit configured to decode the separated coded picture data. For example, the Meta

Companies Coding Patents Accused Products incorporate a H.264 video codec that is configured

to decode a H.264 encoded bitstream.

       159.    The picture decoding unit in the Meta Companies Coding Patents Accused Products

includes a block decoding unit configured to decode coded block data included in the coded picture

data, the coded block data being obtained by dividing a picture signal into plural blocks.

       160.    The Meta Companies Coding Patents Accused Products decode picture data that

has been coded by an H.264-compliant encoder which divides a picture signal into macroblocks,

generates a residual block image from a block image of the respective blocks and a predictive

block image obtained by intra-picture prediction or inter-picture prediction, and codes, on a block

basis, coefficients obtained by performing orthogonal transformation and quantization on the

residual block image to generate a H.264-compliant bitstream.

       161.    The process of dividing the picture signal into macroblocks is shown in Figure 6-7:


                                                53
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Id. at Figure 6-7.

       162.      The macroblock consists of a 16 x 16 block of luma samples and two corresponding

blocks of chroma samples. A macroblock can be further partitioned for inter-prediction forming

segmentations for motion representation as small as a block of 4 x 4 luma samples.59

       163.      A residual block image is generated from the block image of the respective blocks

and a predictive block image is obtained by intra-picture prediction or inter-picture prediction by

an H.264-compliant encoder. For example, Figure 6.6 below shows a picture signal to be coded,

with the macroblock being coded highlighted. The macroblock is predicted using neighboring,

previously-encoded samples, as shown in Figure 6.7; because this prediction looks only to the

other macroblocks of the same picture, this is called intra-picture prediction. The predicted

macroblock is shown in Figure 6.7. Figure 6.8 shows the prediction (Figure 6.7) subtracted from

the original (Figure 6.6), which is called the residual.




       59
            See Ex. 60, H.264 Standard, Section 0.6.3, p. 5 (09/2019).


                                                  54
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Ex. 23, Richardson, at 141-143.

       164.      Intra- and inter- picture prediction can be used by the H.264-compliant encoder to

calculate the residual. Inter-picture coding predicts the value of the macroblock using temporal

statistical dependencies between different pictures.

       165.      An H.264-compliant encoder codes, on a block basis, coefficients obtained by

performing orthogonal transformation and quantization on the residual block image. H.264

specifies an entropy_coding_mode flag that dictates the entropy encoding algorithm used to

encode the picture data. When this flag is set to “0” the residual block data is coded using a

CAVLC scheme.60 In such case, the resulting prediction residual is split into 4x4 blocks, and

transformation and quantization are applied. An integer transform is applied to the residual,

outputting a set of coefficient weighting values. This process is shown in the figures below:




       60
            See Ex. 60, H.264 Standard, Section 7.4.2.2, pp. 81-82 (09/2019).


                                                 55
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Ex. 23, Richardson, at 47.




Ex. 23, Richardson at 88.

       166.    The coefficients are then quantized, meaning that insignificant coefficient values

are rounded down (for example, to zero), while a small number of significant, non-zero coefficients

are retained. The quantization step is shown in Figure 4.12:




                                                56
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Ex. 23, Richardson, at 88.

       167.    These quantized coefficients are rescaled to obtain similar coefficients at the

decoder, as shown in Figure 4.14:




Ex. 23, Richardson at 89.




                                              57
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        168.    The encoding process is shown in Figure 4.4:




Ex. 23, Richardson, at 84.

        169.    In the Meta Companies Coding Patents Accused Products the block decoding unit

includes a coefficient number decoding unit configured to decode the coded block data to obtain

the number of non-zero coefficients which are coefficients included in a current block to be

decoded and have a value other than “0.” In H.264, the total number of non-zero coefficients in

the current block is encoded by the variable coeff_token. The coefficient number decoding unit in

the Meta Companies Coding Patents Accused Products is configured to decode the coded block

data by executing the function TotalCoeff(coeff_token) to return the number of non-zero transform

coefficient levels derived from coeff_token.61 A “level” in this context is the value of a transform

coefficient prior to scaling.62

        170.    The block decoding unit in the Meta Companies Coding Patents Accused Products


        61
         See Ex. 60, H.264 Standard, Section 7.4.5.3.2, p. 110 (09/2019).
        62
         See Ex. 60, H.264 Standard, Section 3.175 (transform coefficient level definition), p.
15 (09/2019).


                                                58
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also includes a unit configured to obtain coefficients corresponding to a residual block image of

the current block by decoding the coded block data. H.264-compliant decoders read the encoded

residual macroblock data and extract the coefficients located in that data. This extraction is called

parsing. The parsed data is then inverse quantized and inverse orthogonal transforms are applied

to reconstruct the residual macroblock. The H.264 decoding process in this instance employs a

CAVLC parsing process to obtain a list of transform coefficient levels (coeffLevel) of the luma

block or the chroma block.63

       171.    The block decoding unit in the Meta Companies Coding Patents Accused Products

further includes a unit configured to obtain the residual block image of the current block by

performing inverse quantization and inverse orthogonal transformation on the coefficients

corresponding to the residual block image of the current block. Once the residual luma and chroma

coefficient blocks are extracted, the H.264-compliant decoder calculates a quantization parameter,

and carries out inverse quantization and inverse transformation to (re)produce the residual sample

blocks.64

       172.    The block decoding unit in the Meta Companies Coding Patents Accused Products

also includes a reproducing unit configured to reproduce a block image of the current block, from

the obtained residual block image and a predictive block image obtained by intra-picture prediction

or inter-picture prediction. For each macroblock, the H.264 decoder forms an identical prediction

to the one created by the encoder using inter-picture prediction from previously-decoded frames

or intra-picture prediction from previously-decoded samples in the current frame. The decoder

adds the prediction to the decoded residual to reconstruct a decoded macroblock which can then



       63
          See Ex. 60, H.264 Standard, Section 9.2-9.2.4, pp. 214-223 (09/2019).
       64
          See Ex. 23, Richardson, at 96.


                                                 59
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be displayed as part of a video frame. This reconstruction of a macroblock at the decoder can be

seen in Figure 4.17:




Ex. 23, Richardson at 91.

       173.    The decoding process is shown in Figure 4.21:




Ex. 23, Richardson, at 96.




                                              60
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       174.      The coefficient number decoding unit in the Meta Companies Coding Patents

Accused Products includes a determining unit configured to determine a predictive value for the

number of non-zero coefficients included in the current block based on the number of non-zero

coefficients included in a decoded block located on a periphery of the current block. Since

CAVLC is a context-adaptive variable length coding technique, the number of non-zero

coefficients in neighboring blocks is correlated as part of the entropy decoding process. An H.264-

compliant decoder uses previously-processed macroblocks to help decode the currently-processed

macroblock. The number of non-zero coefficients in previously-processed blocks on the periphery

— including the blocks to the left and above the current macroblock — are used to predict the

number of non-zero coefficients in the current block. This use of the blocks of the periphery is

shown in Figure 6-14:




Ex. 60, H.264 Standard, at 33.

       175.      The H.264-compliant decoder in the Meta Companies Coding Patents Accused

Products obtains the number of non-zero coefficients in the left and above blocks to set the variable

nC, the prediction of the current macroblock’s number of non-zero coefficients based on the

neighboring macroblocks’ number of non-zero coefficients.65

       176.      The coefficient number decoding unit in the Meta Companies Coding Patents


       65
            See Ex. 60, H.264 Standard, Section 9.2.1, pp. 214-216 (09/2019).


                                                 61
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Accused Products also includes a selecting unit configured to select a variable length code table

based on the determined predictive value. The H.264-compliant decoder in the Meta Companies

Coding Patents Accused Products uses the predictive value nC to select one of six variable length

coding tables specified in Table 9-5 of the H.264 standard in order to decode the H.264-compliant

bitstream.66

       177.    The coefficient number decoding unit in the Meta Companies Coding Patents

Accused Products further includes a variable length decoding unit configured to perform variable

length decoding on a coded stream which is generated by coding the number of the non-zero

coefficients included in the current block, by using the selected variable length code table. At the

H.264-compliant CAVLC decoder, the selected variable length code table will be used to decode

the syntax element coeff_token, in the H.264-compliant bitstream, which represents the number of

non-zero coefficients in the macroblock.67

       178.    VideoLabs representatives reached out to Meta representatives at least as early as

October 2, 2019 regarding VideoLabs’ platform and to gauge the Meta Companies’ interest in

joining as a partner or member.        In October, 2019, VideoLabs representatives presented

VideoLabs’ platform to representatives of the Meta Companies. VideoLabs representatives and

Meta representatives spoke between December and February, and met in person on January 30,

2020, during which VideoLabs presented them with an updated proposal. On June 3, 2020,

VideoLabs representatives reached out again and stated that “With regards to Facebook, and based

on our analysis so far, we have determined that VideoLabs’ current patent portfolio is relevant to

the majority of Facebook’s annual revenue in some way and we have 17 unique claim charts


       66
         See Ex. 60, H.264 Standard, Section 9.2.1 and Table 9-5, pp. 214-218 (09/2019).
       67
         See generally Ex. 60, H.264 Standard, Section 9.2.1 and Table 9-5, pp. 214-218
(09/2019).


                                                62
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completed or in development (and other evidence of use) so far related to Facebook Messenger,

Facebook Live, Oculus, Instagram, Facebook Workplace, Portal, Facebook Ads, and backend

infrastructure” and asked them to engage in “good faith licensing discussions” under a proposed

NDA. VideoLabs representatives sent another updated proposal on March 23, 2020. VideoLabs

representatives reached out again on June 26, 2020, March 16, 2021, and May 4, 2021 to “request[]

good faith licensing negotiations” regarding the number of patents relevant to Facebook and other

Meta services. On June 26, 2020, VideoLabs confirmed in an email that representatives of the

Meta Companies said on a recent call that the Meta Companies were not interested in good faith

licensing discussions. To date, months later, the Meta Companies have not reengaged with

VideoLabs.

       179.    The Meta Companies of course know how their products operate, and on

information and belief, the Meta Companies investigated the ’238 Patent and their infringement of

the Meta Companies Coding Patents Accused Products. The Meta Companies have been given

further notice of the ’238 Patent and their infringement of the ’238 Patent through VideoLabs’

May 23, 2022 letter and the filing of this Complaint. On information and belief, the Meta

Companies are either knowingly infringing the ’238 Patent or are willfully blind to its

infringement, and continue to act in wanton disregard of VideoLabs’ patent rights.

       180.    Despite becoming aware of or willfully blinding itself to its infringement of the

’238 Patent, the Meta Companies have nonetheless continued to engage in and has escalated their

infringing activities by continuing to develop, advertise, make available, and use the infringing

functionalities of the Meta Companies Coding Patents Accused Products. On information and

belief, the Meta Companies have made no attempts to design around the ’238 Patent or otherwise

stop their infringing behavior.




                                               63
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       181.    The Meta Companies’ infringement of the ’238 Patent therefore has been and

remains willful.

       182.    The Meta Companies also indirectly infringe the ’238 Patent by inducing others to

infringe and contributing to the infringement of others, including other Defendants and third-party

users of the Meta Companies Coding Patents Accused Products in this District and throughout the

United States. As described above, on information and belief, the Meta Companies have known

about the family of patents including the ’238 Patent since at least January 30, 2020, and have

known about the ’238 Patent since May 23, 2021.

       183.    On information and belief, the Meta Companies have actively induced the

infringement of the ’238 Patent under 35 U.S.C. § 271(b) by actively inducing the infringement of

the Meta Companies Coding Patents Accused Products by third parties in the United States. The

Meta Companies knew or were willfully blind to the fact that their conduct would induce these

third parties to act in a manner that infringes the ’238 Patent in violation of 35 U.S.C. § 271(a).

       184.    The Meta Companies actively encouraged and continue to actively encourage third

parties to directly infringe the ’238 Patent by, for example, marketing the Coding Patents Accused

Products and infringing functionalities to consumers; working with consumers to implement,

install and/or operate the Coding Patents Accused Products and infringing functionalities; fully

supporting and managing consumers’ continuing use of the Coding Patents Accused Products and

infringing functionalities; and providing technical assistance to consumers during their continued

use of the Coding Patents Accused Products and infringing functionalities.68



       68
          See e.g., Ex. 71, Using Facebook-Your Photos and Videos-Videos, FACEBOOK HELP
CENTER (2022), https://www.facebook.com/help/1738143323068602 (last visited May 24,
2022); Ex. 72, I can’t add a video on Facebook, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/215726848451641 (last visited May 24, 2022); Ex. 73, Audio



                                                 64
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        185.    On information and belief, the Meta Companies contributorily infringe the ’238

Patent under 35 U.S.C. § 271(c) by importing, selling, and/or offering to sell within the United

States the Meta Companies Coding Patents Accused Products (or components thereof) that

constitute a material part of the claimed invention and are not staple articles of commerce suitable

for substantial non-infringing use. For example, the hardware and/or software for decoding

content with H.264 using CAVLC is material, has no insubstantial non-infringing uses, and is

known by the Meta Companies to be especially made or adapted for use in a manner that infringes

the ’238 Patent.

                                    COUNT III
                       INFRINGEMENT OF U.S. PATENT NO. 7,970,059

        186.    VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.




and Video Calling, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/messenger-app/1673374996287506 (last visited May 24, 2022);
Ex. 74, How do I video chat with someone or a group in Messenger?, FACEBOOK HELP CENTER
(2022), https://www.facebook.com/help/messenger-app/1414800065460231 (last visited May
24, 2022); Ex. 75, Instagram Features-Videos, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/381435875695118 (last visited May 24, 2022); Ex. 76, How do I
share a video on Instagram?, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/456185931138729 (last visited May 24, 2022); Ex. 77, How do I
share my video on Instagram to my Facebook Page?, INSTAGRAM HELP CENTER (2022),
https://www.facebook.com/help/instagram/486878428409681 (last visited May 24, 2022); Ex.
78, Oculus Support, https://www.youtube.com/channel/UCxLTeQQFvA5_eb0VkrLIq6w (last
visited May 24, 2022); Ex. 79, How To Make A GIF; GIPHY SUPPORT,
https://support.giphy.com/hc/en-us/articles/360019674452-How-To-Make-A-GIF (last visited
May 24, 2022); Ex. 80, How to make a video call, WHATSAPP,
https://faq.whatsapp.com/android/voice-and-video-calls/how-to-make-a-video-call/?lang=en (last
visited May 24, 2022); Ex. 81, I get a message that my video is too long and it won’t send,
META, https://faq.whatsapp.com/general/i-get-a-message-that-my-video-is-too-long-and-it-wont-
send/?lang=en (last visited May 24, 2022); Ex. 85, Viewing your own 360 videos on your Gear
VR, META, https://store.facebook.com/help/quest/articles/headsets-and-accessories/oculus-go-
and-gear-vr/gear-vr-personal-360-videos (last visited May 24, 2022).



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       187.    VL is the assignee and lawful owner of all right, title, and interest in and to the ’059

Patent. The ’059 Patent is valid and enforceable.

       188.    On information and belief, the Meta Companies have infringed and continue to

infringe the ’059 Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine

of equivalents, by making, using, selling, offering for sale, and/or importing into the United States

products and/or methods that practice at least claim 3 of the ’059 Patent, including with respect to

the Meta Companies Coding Patents Accused Products.

       189.    On information and belief, the Meta Companies use the Meta Companies Coding

Patents Accused Products for their own business purposes. In addition, the Meta Companies

regularly conduct testing and troubleshooting of the Meta Companies Coding Patents Accused

Products.69 Further, VideoLabs believes companies related to the Meta Companies (e.g., other

subsidiaries) use the ’059 Meta Companies Coding Patents Accused Products.

       190.    On information and belief, the Meta Companies’ infringement through their use of

H.264 entropy coding, described below, is exemplary of all of the Meta Companies’ infringement

with respect to all the Meta Companies Coding Patents Accused Products.

       191.    The Meta Companies Coding Patents Accused Products directly infringe at least

claim 3 of the ’059 Patent by, for example, performing arithmetic decoding of coded blocks of

picture data, where the probability table to be used is switched to another probability table in one

direction, when the arithmetic-coded absolute values of the coefficient values include an absolute

value exceeding a predetermined threshold value.

       192.    Each of the Meta Companies Coding Patents Accused Products meet every


       69
          See, e.g., SFHTML5, Facebook Messenger RTC – The Challenges and Opportunities
of Scale, YouTube (Oct. 27, 2017), https://www.youtube.com/watch?v=F7UWvflUZoc, at
10:24-12:06


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limitation of claim 3 of the ’059 Patent, which recites:

               3. A decoding method comprising:
               receiving multiplexed data obtained by multiplexing (i) coded
               picture data that is obtained by coding a moving picture and (ii)
               audio data that is obtained by coding an audio signal;
               demultiplexing the multiplexed data received in said receiving into
               the coded picture data and the audio data;
               decoding the coded picture data into a first bit of binary data
               corresponding to each absolute value of coefficients of a two-
               dimensional array of frequency components, on a block basis,
               according to a predetermined scanning order starting at a high
               frequency component toward a low frequency component by using
               a plurality of probability tables, the coefficients being generated by
               frequency transformation performed on picture data of a block
               which has a predetermined size of pixels;
               switching between the plurality of probability tables, from a current
               probability table for the first bit of the binary data corresponding to
               a first coefficient to be decoded, to a new probability table for the
               first bit of the binary data corresponding to a second coefficient to
               be decoded, based on a result of a comparison between an absolute
               value of the first coefficient to be decoded and a predetermined
               threshold value; and
               decoding audio data;
               wherein, in said switching, the switching between the plurality of
               probability tables (i) is performed in a predetermined one direction
               within each block such that each of the probability tables, which has
               been used for performing arithmetic decoding on the first bit of the
               binary data corresponding to an already decoded coefficient before
               switching to the new probability table, is not used within each block
               after switching to the new probability table, and (ii) is not performed
               in the direction opposite to the predetermined one direction
               regardless of the result of the comparison,
               wherein, within each block, if a predetermined one of the plurality
               of probability tables has been used to perform arithmetic decoding,
               in said switching, the switching between the plurality of probability
               tables is not performed regardless of the result of the comparison,
               wherein the coded picture data and the audio data are coded by an
               arithmetic coding apparatus,
               wherein the arithmetic coding apparatus includes: a coefficients
               scanning unit configured to scan coefficients of frequency
               components, which are generated by frequency transformation
               performed on the picture data of a block which has a predetermined


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               size of pixels, in a predetermined scanning order starting at a high
               frequency component toward a low frequency component;
               a converting unit configured to convert each absolute value of the
               coefficients into binary data;
               an arithmetic coding unit configured to perform arithmetic coding
               on a first bit of the binary data corresponding to each absolute value
               of the coefficients according to the predetermined scanning order by
               using a plurality of probability tables:
               a switching unit configured to switch between the plurality of
               probability tables, from a current probability table for the first bit of
               the binary data corresponding to a first coefficient to be coded, to a
               new probability table for the first bit of the binary data
               corresponding to a second coefficient to be coded, based on a result
               of a comparison between an absolute value of the first coefficient to
               be coded and a predetermined threshold value; and
               an audio coding unit configured to code an audio signal, wherein
               said switching unit is configured (i) to switch between the plurality
               of probability tables in a predetermined one direction within each
               block such that each of the probability tables, which has been used
               for performing arithmetic coding on the first bit of the binary data
               corresponding to an already coded coefficient before switching to
               the new probability table, is not used within each block after
               switching to the new probability table, and (ii) not to switch between
               the plurality of probability tables in the direction opposite to the
               predetermined one direction regardless of the result of the
               comparison, and
               wherein, within each block, if a predetermined one of the plurality
               of probability tables has been used to perform arithmetic coding,
               said switching unit is configured not to switch between the plurality
               of probability tables regardless of the result of the comparison.


       193.    Each of the Meta Companies Coding Patents Accused Products perform decoding

by receiving multiplexed data, which is obtained by multiplexing coded picture data and coded

audio data, and then demultiplexing the multiplexed data into coded picture data and coded audio

data. H.264 carries audio and video multiplexed in a single stream. H.264 is directed to the picture

portion of video, so devices containing H.264 encoders and decoders must multiplex/demultiplex

picture and audio data in order to obtain the H.264 picture data. Encoders multiplex the audio and




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pictures into a single stream, so that decoders receive the complete video presentation, including

sound. Decoders receive the complete video presentation, including sound, and decode the stream

to recreate the video. In the ISO Media File Format, which each accused H.264 product is capable

of processing, a coded stream such as an H.264 video sequence or an audio stream is stored as a

track, representing a sequence of coded data items or samples. Figure 8.32, below, illustrates an

example of such multiplexed data, in which coded audio data (“audio track samples”) and coded

picture data (“video track samples”) are multiplexed together:




Ex. 23, Richardson, at 247.

       194.    In the Meta Companies Coding Patents Accused Products, since the coded audio

data and the coded picture data are decoded by separate respective decoders, it is necessary to first

demultiplex the audio track samples and video track samples in order to reproduce the encoded

data in its entirety. Figure 8.32 below shows the multiplexed stream of an ISO Media File as

received, which includes coded audio data (“audio track samples”) and coded picture data (“video

track samples”). The coded audio data and the coded picture data are demultiplexed and sent to

respective decoders for further processing.




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Ex. 23, Richardson, at 247.

          195.   H.264-compliant decoders use one of two entropy decoders (CAVLC and CABAC)

to extract binary data from a coded bitstream. Entropy encoders compress the parameters of the

H.264 prediction model to remove statistical redundancy in the data, and then produce a H.264-

compliant compressed bit stream or file for storage and/or transmission.




Ex. 23, Richardson, at 85.

          196.   In the Meta Companies Coding Patents Accused Products, the H.264 decoder

decodes the coded picture data into a first bit of binary data corresponding to each absolute value

of coefficients of a two-dimensional array of frequency components, on a block basis, according

to a predetermined scanning order starting at a high frequency component toward a low frequency

component by using a plurality of probability tables, where the coefficients are generated by

frequency transformation performed on picture data of a block which has a predetermined size of

pixels.


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       197.    The H.264-compliant compressed bit stream or file sequence representing the

coded picture data consists of coded prediction parameters, coded residual coefficients, and header

information.




Ex. 23, Richardson, at 85.




Ex. 23, Richardson, at 100.

       198.    In accordance with the H.264 standard, H.264-compliant decoders, such as those in

the Meta Companies Coding Patents Accused Products, operate on a macroblock, consisting of a

16 x 16 block of luma samples and two corresponding blocks of chroma samples. For example,



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picture data is coded in accordance with H.264 by dividing a picture signal into macroblocks, as

shown in Figure 6-7:




Id. at Figure 6-7.

       199.    The picture macroblocks are used to generate a residual block image. This residual

may be obtained using intra- or inter- picture prediction. For example, Figure 6.6 below shows a

picture signal to be coded, with the macroblock being coded highlighted. The macroblock is

predicted using neighboring, previously-encoded samples, as shown in Figure 6.7; because this

prediction looks only to the other macroblocks of the same picture, this is called intra-picture

prediction. The predicted macroblock is shown in Figure 6.7. Figure 6.8 shows the prediction

(Figure 6.7) subtracted from the original (Figure 6.6), which is called the residual.




Ex. 23, Richardson, at 141-143.

       200.    H.264-compliant encoders can use intra- and inter- picture coding on the


                                                 72
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macroblocks of a picture signal. Inter-picture coding predicts the value of the macroblock using

temporal statistical dependencies between different pictures. Both types of prediction can be used

to calculate the residual.

        201.    The resulting prediction residual is split into 4x4 blocks, and transformation and

quantization are applied. An integer transform is applied to the residual, outputting a set of

coefficient weighting values. This process is shown in the figures below:




Ex. 23, Richardson, at 47.




                                                73
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Ex. 23, Richardson, at 88.

       202.    H.264 specifies an entropy_coding_mode flag that dictates the entropy encoding

algorithm used to encode the picture data. When this flag is set to “1” the residual block data is

coded using a CABAC scheme.70 In H.264, CABAC coding a data symbol involves binarizing

the frequency transform coefficients, in scan order, and then further encoding the binary codes.

Since CABAC is a context-adaptive binary arithmetic coding technique, it relies on probability

model (“context model”) selection for one or more bins of the binarized code. Context models

and binarization schemes are specified in the H.264 standard.71 The context model stores the

probability of each bin being “1” or “0”. An H.264-compliant arithmetic coder then encodes each

bin according to the selected probability model and the selected context model is updated based

on the actual coded value for further encoding.72 The H.264 decoder in the Meta Companies

Coding Patents Accused Products reverses this process to decode the picture data.




       70
         See Ex. 60, H.264 Standard, Section 7.4.2.2, pp. 81-82 (09/2019).
      71
         See Ex. 60, H.264 Standard, Section 9.3, pp. 223-278 (09/2019).
      72
         See Ex. 60, H.264 Standard, Sections 7.4.5.3.3, 9.3, and Figure 9-1, pp. 110-111,
223-278 (09/2019).


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       203.    The Meta Companies Coding Patents Accused Products perform CABAC decoding

by switching between the plurality of probability tables, from a current probability table for the

first bit of the binary data corresponding to a first coefficient to be decoded, to a new probability

table for the first bit of the binary data corresponding to a second coefficient to be decoded.

       204.    In accordance with H.264 standard requirements, at the beginning of each coded

slice, the context models are initialized. Initializing the context models produces context model


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tables that are accessed by index “ctxIdx.”73 The CABAC decoding engine in the Meta Companies

Coding Patents Accused Products applies a specific table to decode each bin of a H.264 syntax

element, such as the residual block. In particular, the H.264 standard defines six sets of probability

tables assigned to residual block types. Residual blocks in categories 0-4 are assigned a group of

tables starting at table ctxIdx_227. LumaLevel8x8 blocks (category 5) are assigned a group of

tables starting at table ctxIdx_426. The first table within a group is denoted as ctxIdxOffset.74




       73
            See Ex. 60, H.264 Standard, Section 9.3.1, Table 9-11, pp. 225-228 (09/2019).
       74
            See Ex. 60, H.264 Standard, Section 9.3.3.1.3, Tables 9-34 and 9-42, pp. 249-251, 267-
270.


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Ex. 60, H.264 Standard, at 225.

       205.    To effect the table switching mandated by the H.264 standard, the CABAC decoder

in the Meta Companies Coding Patents Accused Products computes index ctxIdx to access the

table for decoding the first bit (b0) corresponding to a first transform coefficient to be decoded.

To decode the first bit (b0) corresponding to a second transform coefficient to be decoded the




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CABAC decoder computes another index ctxIdx to access the corresponding table.75 Index ctxIdx

is   specified    by    the    H.264   standard    to   be   the   sum    of   ctxIdxOffset    and

ctxIdxBlockCatOffset(ctxBlockCat) and variable ctxIdxInc.76

        206.     The Meta Companies Coding Patents Accused Products switch between the

plurality of probability tables based on a result of a comparison between an absolute value of the

first coefficient to be decoded and a predetermined threshold value. Equation 9-23 of the H.264

Specification mandates that the context increment index “ctxIdxInc” is incremented by one (i.e.,

switching to a new probability table correlated to ctxIdx), so long as the absolute value of the

corresponding decoded coefficient is 1 and the number of the previous decoded single bit

coefficients is less than 4.




Ex. 60, H.264 Standard, at 270, Section 9.3.3.1.

        207.     The Meta Companies Coding Patents Accused Products also decode audio data.

For example, the Meta Companies Coding Patents Accused Products incorporate an audio codec

that is configured to decode audio data according to an input format, including without limitation,

AAC.




        75
          See Ex. 60, H.264 Standard, Section 9.3.3.1.3, Equations 9-23 and 9-24, pp. 267-270
(09/2019).
       76
          See Ex. 60, H.264 Standard, Section 9.3.3.1, Table 9-40, pp. 257-259 (09/2019).


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       208.      In the Meta Companies Coding Patents Accused Products the switching between

the plurality of probability tables is performed in a predetermined one direction within each block

such that each of the probability tables which has been used for performing arithmetic decoding

on the first bit of binary data corresponding to an already decoded coefficient before switching to

the new probability table is not used within each block after switching to the new probability table,

and is not performed in the opposite direction to the predetermined one direction regardless of the

result of the comparison. In accordance with Equation 9-23, the H.264-compliant CABAC

decoder in the Meta Companies Coding Patents Accused Products switches between the plurality

of probability tables in a predetermined increasing direction (i.e., from ctxIdxInc 1 to 4) and will

not reverse direction, as long as the absolute value of the corresponding decoded transform

coefficient is 1 and the absolute value of the previously decoded coefficient is not greater than 1

(i.e., the switching increment ctxIdxInc for bin0 of a transform coefficient increases monotonically

from 1 to 4 with each successive coefficient to be decoded and will not reverse direction).77

       209.      Similarly, in the Meta Companies Coding Patents Accused Products within each

block if a predetermined one of the plurality of probability tables has been used to perform

arithmetic decoding, in said switching, the switching between the plurality of probability tables is

not performed regardless of the result of the comparison. For H.264-compliant CABAC decoders,

such as those in the Meta Companies Coding Patents Accused Products, Equation 9-23 mandates

that no switching between the plurality of tables is performed when the table ctxIdx corresponding

to ctxIdxInc = 4 has been used to decode a transform coefficient with absolute value 1 and bin0 of

the next single-bit coefficient is received. In such case, the same ctxIdx table will be used for

decoding additional trailing 1s without further table switching. Additionally, after decoding a


       77
            See generally H.264 Standard, Equation 9-23, p. 270 (09/2019).


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transform coefficient with absolute value greater than 1, the table ctxIdx corresponding to

ctxIdxInc = 0 will be used and no further switching will occur.78

       210.      H.264-compliant decoders, such as those in the Meta Companies Coding Patents

Accused Products, are configured to decode coded picture data, including picture data that has

already been encoded by an arithmetic coding apparatus using CABAC entropy encoding.

Products capable of decoding H.264-compliant coded picture data, including the Meta Companies

Coding Patents Accused Products, typically also incorporate an audio codec to decode related

audio data previously encoded in accordance with various audio coding standards. An arithmetic

coding apparatus, whether embodied in the Meta Companies Coding Patents Accused Products or

otherwise, typically constitutes a H.264-compliant codec for coding picture data and one or more

audio codecs for coding the audio data.

       211.      A H.264-compliant arithmetic coding apparatus, whether embodied in the Meta

Companies Coding Patents Accused Products or otherwise embodied separately, includes a

coefficient scanning unit configured to scan coefficients of frequency components, which are

generated by frequency transformation performed on the picture data of a block which has a

predetermined scanning order starting at a high frequency component toward a low frequency

component. As noted previously, H.264-compliant encoders operate on a macroblock, consisting

of a 16 x 16 block of luma samples and two corresponding blocks of chroma samples. A

macroblock can be further portioned for inter-prediction forming segmentations for motion

representation as small as 4 x 4 luma samples in size.79 Two main coding types are specified in

H.264, intra-coding and inter-coding. Intra-coding is done without reference to other pictures


       78
            See Ex. 60, H.264 Standard, Equation 9-23, p. 270 (09/2019).
       79
            See Ex. 60, H.264 Standard, Section 0.6.3, p. 5 (09/2019).



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while inter-coding uses inter-prediction of each block of sample values from some previously

decoded picture.80 H.264 decoding is based on the use of a block-based transform method for

spatial redundancy removal. The resulting residual block is split into 4 x 4 blocks. These residual

blocks are converted into the transform domain where they are quantized.81 H.264 specifies an

entropy_coding_mode flag that dictates the entropy encoding algorithm used to encode the picture

data. When this flag is set to “1” the residual block data is coded using a CABAC scheme.82

       212.    A H.264-compliant arithmetic coding apparatus, whether embodied in the Meta

Companies Coding Patents Accused Products or otherwise embodied separately, includes a

converting unit configured to convert each absolute value of the coefficients into binary data. In

H.264 CABAC encoding generally, coding a data symbol involves binarizing the frequency

transform coefficients, in scan order, and then further encoding the binary codes.

       213.    A H.264-compliant arithmetic coding apparatus, whether embodied in the Meta

Companies Coding Patents Accused Products or otherwise embodied separately, includes an

arithmetic coding unit configured to perform arithmetic coding on a first bit of the binary data

corresponding to each absolute value of the coefficients according to the predetermined scanning

order by using a plurality of probability tables. Since CABAC is a context-adaptive binary

arithmetic coding technique, it relies on probability model (“context model”) selection for one or

more bins of the binarized code. Context models and binarization schemes are defined in the

H.264 standard.83 The context model stores the probability of each bin being “1” or “0”. An




       80
          See Ex. 60, H.264 Standard, Section 0.6.1, p. 4 (09/2019).
       81
          See Ex. 60, H.264 Standard, Section 0.6.4, p. 5 (09/2019).
       82
          See Ex. 60, H.264 Standard, Section 7.4.2.2, pp. 81-82 (09/2019).
       83
          See Ex. 60, H.264 Standard, Section 9.3, pp. 223-278 (09/2019).



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arithmetic coder then encodes each bin according to the selected probability model and the selected

context model is updated based on the actual coded value for further encoding.84

       214.    A H.264-compliant arithmetic coding apparatus, whether embodied in the Meta

Companies Coding Patents Accused Products or otherwise embodied separately, includes a

switching unit configured to switch between the plurality of probability tables, from a current

probability table for the first bit of the binary data corresponding to a first coefficient to be coded,

to a new probability table for the first bit of the binary data corresponding to a second coefficient

to be coded, based on a result of a comparison between an absolute value of the first coefficient to

be coded and a predetermined threshold value. In accordance with H.264 CABAC encoding, at

the beginning of each coded slice, the context models are initialized. Initializing the context

models produces context model tables that are accessed by index “ctxIdx”.85 The CABAC encoder

applies a specific table to encode each bin of a H.264 syntax element, such as a residual block. In

particular, the H.264 standard defines six sets of probability tables assigned to residual block types.

Residual blocks in categories 0-4 are assigned a group of tables starting at table ctxIdx_227.

LumaLevel8x8 blocks (category 5) are assigned a group of tables starting at table ctxIdx_426. The

first table within a group is denoted as ctxIdxOffset.86

       215.    H.264-compliant encoders, whether embodied in the Meta Companies Coding

Patents Accused Products or embodied separately, necessarily incorporate switching logic to effect

switching between probability tables in accordance with H.264 requirements when performing



       84
          See Ex. 60, H.264 Standard, Sections 7.4.5.3.3, 9.3, and Figure 9-1, pp. 110-111, 223-
278 (09/2019).
       85
          See Ex. 60, H.264 Standard, Section 9.3.1, Table 9-11, pp. 225-228 (09/2019).
       86
          See Ex. 60, H.264 Standard, Section 9.3.3.1.3, Tables 9-34 and 9-42, pp. 249-251, 267-
270 (09/2019).



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CABAC entropy encoding. Specifically, to encode the transform coefficient block, H.264-

compliant encoders must implement switching logic that follows the mandates of Equations 9-23

and 9-24 of the H.264 Standard, depending on whether the absolute value of transform coefficients

is greater than or equal to 1:87




        216.    To effect the mandated table switching, the CABAC entropy encoder computes

index ctxIdx to access the table for encoding the first bit (b0) corresponding to a first transform

coefficient to be encoded. To encode the first bit (b0) corresponding to a second transform

coefficient to be encoded, the CABAC entropy encoder computes another index ctxIdx to access

the corresponding table.88 Index ctxIdx is specified in the H.264 Standard to be the sum of

ctxIdxOffset and ctxIdxBlockCatOffset(ctxBlockCat) and variable ctxIdxInc.89 In accordance

with Equation 9-23, as long as the absolute value of the corresponding encoded transform

coefficient is 1 and the number of previous encoded single bit coefficients is less than 4, the context

increment index ctxIdxInc is incremented by 1 (i.e., the switching unit switches to a new

probability table correlated to ctxIdx).




        87
          See Ex. 60, H.264 Standard, Section 9.3.3.1.3, Equations 9-23 and 9-24, pp. 267-270
(09/2019).
       88
          See Ex. 60, H.264 Standard, Section 9.3.3.1.3, Equations 9-23 and 9-24, pp. 267-270
(09/2019).
       89
          See Ex. 60, H.264 Standard, Section 9.3.3.1, Table 9-40, pp. 257-259 (09/2019).


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       217.      Typical audio encoders, whether embodied in the Meta Companies Coding Patents

Accused Products or embodied separately, as an element of the arithmetic coding apparatus,

include an audio coding unit configured to code an audio signal in a standard audio format.

       218.      In H.264-compliant encoders, whether embodied in the Meta Companies Coding

Patents Accused Products or embodied separately, the switching unit is configured to switch

between the plurality of probability tables in a predetermined one direction within each block such

that each of the probability tables, which has been used for performing arithmetic coding on the

first bit of the binary data corresponding to an already coded coefficient before switching to the

new probability table, is not used within each block after switching to the new probability table

and not to switch between the plurality of probability tables in the direction opposite to the

predetermined one direction regardless of the result of the comparison. In accordance with

Equation 9-23, for H.264-compliant encoders, the switching between the plurality of tables is

performed in a predetermined increasing direction (i.e., from ctxIdxInc 1 to 4) and will not reverse

direction, as long as the absolute value of the corresponding encoded transform coefficient is 1

and the absolute value of the previous encoded coefficient is not greater than 1 (i.e., the switching

increment ctxIdxInc for bin0 of a transform coefficient increases monotonically from 1 to 4 with

each successive coefficient to be encoded and will not reverse direction).90

       219.      Similarly, in H.264-compliant encoders, whether embodied in the Meta Companies

Coding Patents Accused Products or embodied separately, within each block, if a predetermined

one of the plurality of the probability tables has been used to perform arithmetic coding, said first

switching unit is configured not to switch between the plurality of probability tables regardless of

the result of the comparison. Equation 9-23 mandates that no switching between the plurality of


       90
            See Ex. 60, H.264 Standard, Equation 9-23, pp. 270 (09/2019).


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tables is performed when the table ctxIdx corresponding to ctxIdxInc = 4 has been used to encode

a transform coefficient with absolute value 1 and bin0 of the next single-bit coefficient is to be

coded. In such case the same ctxIdx table will be used for encoding additional trailing 1s without

further table switching. Additionally, after encoding a transform coefficient with an absolute value

greater than 1, the table ctxIdx corresponding to ctxIdxInc = 0 will be used for subsequent

coefficient coding and no further switching will occur.91

       220.      On information and belief, to the extent applicable, VideoLabs has complied with

35 U.S.C. § 287(a) with respect to the ’059 Patent.

       221.      VideoLabs representatives reached out to Meta representatives at least as early as

October 2, 2019 regarding VideoLabs’ platform and to gauge the Meta Companies’ interest in

joining as a partner or member.         In October, 2019, VideoLabs representatives presented

VideoLabs’ platform to representatives of the Meta Companies. VideoLabs representatives and

Meta representatives spoke between December and February, and met in person on January 30,

2020, during which VideoLabs presented them with an updated proposal. On June 3, 2020,

VideoLabs representatives reached out again and stated that “With regards to Facebook, and based

on our analysis so far, we have determined that VideoLabs’ current patent portfolio is relevant to

the majority of Facebook’s annual revenue in some way and we have 17 unique claim charts

completed or in development (and other evidence of use) so far related to Facebook Messenger,

Facebook Live, Oculus, Instagram, Facebook Workplace, Portal, Facebook Ads, and backend

infrastructure” and asked them to engage in “good faith licensing discussions” under a proposed

NDA. VideoLabs representatives sent another updated proposal on March 23, 2020. VideoLabs

representatives reached out again on June 26, 2020, March 16, 2021, and May 4, 2021 to “request[]


       91
            See Ex. 60, H.264 Standard, Equation 9-23, p. 270 (09/2019).


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good faith licensing negotiations” regarding the number of patents relevant to Facebook and other

Meta services. On June 26, 2020, VideoLabs confirmed in an email that representatives of the

Meta Companies said on a recent call that the Meta Companies were not interested in good faith

licensing discussions. To date, months later, the Meta Companies have not reengaged with

VideoLabs.

       222.    The Meta Companies of course know how their products operate, and on

information and belief, the Meta Companies investigated the ’059 Patent and their infringement of

the Meta Companies Coding Patents Accused Products. The Meta Companies have been given

further notice of the ’059 Patent and their infringement of the ’059 Patent through VideoLabs’

May 23, 2022 letter and the filing of this Complaint. On information and belief, the Meta

Companies are either knowingly infringing the ’059 Patent or are willfully blind to their

infringement, and continue to act in wanton disregard of VideoLabs’ patent rights.

       223.    Despite becoming aware of or willfully blinding itself to its infringement of the

’059 Patent, the Meta Companies have nonetheless continued to engage in and has escalated their

infringing activities by continuing to develop, advertise, make available, and use the infringing

functionalities of the Meta Companies Coding Patents Accused Products. On information and

belief, the Meta Companies have made no attempts to design around the ’059 Patent or otherwise

stop their infringing behavior.

       224.    The Meta Companies’ infringement of the ’059 Patent therefore has been and

remains willful.

       225.    The Meta Companies also indirectly infringe the ’059 Patent by inducing others to

infringe and contributing to the infringement of others, including other Defendants and third-party

users of the Meta Companies Coding Patents Accused Products in this District and throughout the




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United States. As described above, on information and belief, the Meta Companies have known

about the family of patents including the ’059 Patent since at least January 30, 2020 and have

known about the ’059 Patent since May 23, 2021.

       226.    On information and belief, the Meta Companies have actively induced the

infringement of the ’059 Patent under 35 U.S.C. § 271(b) by actively inducing the infringement of

the Meta Companies Coding Patents Accused Products by third parties in the United States. The

Meta Companies knew or were willfully blind to the fact that their conduct would induce these

third parties to act in a manner that infringes the ’059 Patent in violation of 35 U.S.C. § 271(a).

       227.    The Meta Companies actively encouraged and continue to actively encourage third

parties to directly infringe the ’059 Patent by, for example, marketing the Coding Patents Accused

Products and infringing functionalities to consumers; working with consumers to implement,

install and/or operate the Coding Patents Accused Products and infringing functionalities; fully

supporting and managing consumers’ continuing use of the Coding Patents Accused Products and

infringing functionalities; and providing technical assistance to consumers during their continued

use of the Coding Patents Accused Products and infringing functionalities.92



       92
           See e.g., Ex. 71, Using Facebook-Your Photos and Videos-Videos, FACEBOOK HELP
CENTER (2022), https://www.facebook.com/help/1738143323068602 (last visited May 24,
2022); Ex. 72, I can’t add a video on Facebook, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/215726848451641 (last visited May 24, 2022); Ex. 73, Audio
and Video Calling, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/messenger-app/1673374996287506 (last visited May 24, 2022);
Ex. 74, How do I video chat with someone or a group in Messenger?, FACEBOOK HELP CENTER
(2022), https://www.facebook.com/help/messenger-app/1414800065460231 (last visited May
24, 2022); Ex. 75, Instagram Features-Videos, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/381435875695118 (last visited May 24, 2022); Ex. 76, How do I
share a video on Instagram?, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/456185931138729 (last visited May 24, 2022); Ex. 77, How do I
share my video on Instagram to my Facebook Page?, INSTAGRAM HELP CENTER (2022),
https://www.facebook.com/help/instagram/486878428409681 (last visited May 24, 2022); Ex.



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        228.    On information and belief, the Meta Companies contributorily infringe the ’059

Patent under 35 U.S.C. § 271(c) by importing, selling, and/or offering to sell within the United

States the Meta Companies Coding Patents Accused Products (or components thereof) that

constitute a material part of the claimed invention and are not staple articles of commerce suitable

for substantial non-infringing use. For example, the hardware and/or software for decoding

content with H.264 using CABAC is material, has no insubstantial non-infringing uses, and is

known by the Meta Companies to be especially made or adapted for use in a manner that infringes

the ’059 Patent.

                                    COUNT IV
                       INFRINGEMENT OF U.S. PATENT NO. 7,266,682

        229.    VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

        230.    VL IP is the assignee and lawful owner of all right, title, and interest in and to the

’682 Patent. The ’682 Patent is valid and enforceable.

        231.    On information and belief, the Meta Companies have infringed and continue to

infringe the ’682 Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine

of equivalents, by using methods and/or taking steps that practice at least claim 1 of the ’682

Patent, including with respect to the Meta Companies ’682 Accused Products.




78, Oculus Support, https://www.youtube.com/channel/UCxLTeQQFvA5_eb0VkrLIq6w (last
visited May 24, 2022); Ex. 79, Viewing your own 360 videos on your Gear VR; META,
https://support.giphy.com/hc/en-us/articles/360019674452-How-To-Make-A-GIF (last visited
May 24, 2022); Ex. 80, How to make a video call, WHATSAPP,
https://faq.whatsapp.com/android/voice-and-video-calls/how-to-make-a-video-call/?lang=en (last
visited May 24, 2022); Ex. 81, I get a message that my video is too long and it won’t send,
META, https://faq.whatsapp.com/general/i-get-a-message-that-my-video-is-too-long-and-it-wont-
send/?lang=en (last visited May 24, 2022).



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       232.    On information and belief, the Meta Companies use the Meta Companies ’682

Accused Products for their own business purposes. In addition, the Meta Companies regularly

conduct testing and troubleshooting of the Meta Companies ’682 Accused Products.93 Further,

VideoLabs believes companies related to the Meta Companies (e.g., other subsidiaries) use the

Meta Companies ’682 Accused Products.

       233.    On information and belief, the Meta Companies’ infringement through its use of

WebRTC, described below, is exemplary of all of Meta Companies' infringement with respect to

all the Meta Companies ’682 Accused Products.

       234.    The Meta Companies ’682 Accused Products directly infringe at least claim 1 of

the ’682 Patent by, for example, performing SRTP/SRTCP authentication via streaming using the

WebRTC standard.

       235.    The Meta Companies ’682 Accused Products meet every limitation of claim 1 of

the ’682 Patent, which recites:

               1. A method for transmitting data from a transmitter to a receiver,
               comprising:

               providing transmitter-to-receiver authentication at a Real Time
               Transport Protocol (RTP) packet level as an application protocol on
               an application layer by inserting, at the transmitter, authentication
               data at end of a whole RTP packet payload;

               ascertaining, by the receiver, whether the receiver knows the
               transmitter based on the RTP packet level authentication data; and

               accepting, by the receiver, the whole RTP packet payload, if the
               receiver knows the transmitter, and otherwise rejecting the whole
               RTP packet payload.

       236.    The Meta Companies ’682 Accused Products practice a method for transmitting


       93
          See, e.g., SFHTML5, Facebook Messenger RTC – The Challenges and Opportunities
of Scale, YouTube (Oct. 27, 2017), https://www.youtube.com/watch?v=F7UWvflUZoc, at
10:24-12:06


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data from a transmitter to a receiver. The WebRTC framework provides support for direct

interactive rich communication using audio, video, text, collaboration, games, etc., between two

peers’ web browsers.94

       237.    The Meta Companies ’682 Accused Products provide transmitter-to-receiver

authentication at a Real Time Transport Protocol (RTP) packet level as an application protocol on

an application layer. The accused WebRTC Products provide secure authentication by using RTP

payloads. See Ex. 82, WebRTC Spec at 8 (“WebRTC Endpoints . . . MUST employ the full

RTP/SAVPF profile to protect all RTP and RTPC packets that are generated (i.e., implementations

MUST use SRTP and SRTCP)”). SRTP, a profile of RTP, is a real-time transport protocol which

provides confidentiality, message authentication, and replay protection to the RTP traffic and to

the control traffic for RTP, RTCP (the Real-time Transport Control Protocol).95 SRTP is an

application protocol operating on an application layer of the standard OSI model, residing between

the RTP application and the transport layer.96

       238.    WebRTC uses DTLS-SRTP to add encryption, message authentication and

integrity, and replay attack protection. As such, SRTP is a key component of the security in

WebRTC. With WebRTC, SRTP is used for encrypting media streams. The image below

illustrates the role of SRTP in WebRTC.97




       94
          See Ex. 82, RTCWEB Working Group, Web Real-Time Communication (WebRTC):
Media Transport and Use of RTP (June 12, 2015) (hereinafter “WebRTC Spec”), at 1.
       95
          See Ex. 83, The Secure Real-time Transport Protocol, IETF (Mar. 2004) (hereinafter
“RFC 3711”), at 3, available at https://datatracker.ietf.org/doc/html/rfc3711 (last visited May 24,
2022).
       96
          See Ex. 83, RFC 3711, Section 3, p. 5.
       97
          See Ex. 61, Ilya Grigorik, High Performance Browser Networking, WebRTC: Browser
APIs and Protocols, at Figure 18-3, available at https://hpbn.co/webrtc/.


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       239.      The Meta Companies provide this authentication by inserting, at the transmitter,

authentication data at end of a whole RTP packet payload. As shown below, the Meta Companies

insert an authentication tag at the end of a whole RTP packet payload. The authentication tag is

used to carry message authentication data.98




       98
            See Ex. 83, RFC 3711, Section 3.1, pp. 6-7.


                                                 91
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Ex. 83, RFC 3711, at 6.

          240.   Further, the Meta Companies ’682 Accused Products ascertain, by the receiver,

whether the receiver knows the transmitter based on the RTP packet level authentication data. In

WebRTC, “[t]o authenticate and decrypt an SRTP packet, the receiver SHALL do” tasks including

“verification of the authentication tag,” which is performed “using the rollover counter . . . , the

authentication algorithm indicated in the cryptographic context, and the session authentication

key.”99

          241.   Finally, the Meta Companies ’682 Accused Products accept, by the receiver, the

whole RTP packet payload, if the receiver knows the transmitter, and otherwise reject the whole

RTP packet payload. Specifically, at the receiver, “[i]f the result is ‘AUTHENTICATION

FAILURE’ . . . , the packet MUST be discarded from further processing.”100 However, if the


          99
             See Ex. 83, RFC 3711, Section 3.3, p. 12.
          100
              See Ex. 83, RFC 3711, Section 3.3, p. 12.


                                                  92
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authentication is successful, the receiver “[d]ecrypt[s] the Encrypted Portion of the packet . . .

using the decryption algorithm indicated in the cryptographic context, the session encryption key

and salt (if used)… with the index [of the SRTP packet].”101

       242.      On information and belief, to the extent applicable, VideoLabs has complied with

35 U.S.C. § 287(a) with respect to the ’682 Patent.

       243.      VideoLabs representatives reached out to Meta representatives at least as early as

October 2, 2019 regarding VideoLabs’ platform and to gauge the Meta Companies’ interest in

joining as a partner or member.         In October, 2019, VideoLabs representatives presented

VideoLabs’ platform to representatives of the Meta Companies. VideoLabs representatives and

Meta representatives spoke between December and February, and met in person on January 30,

2020, during which VideoLabs presented them with an updated proposal. On June 3, 2020,

VideoLabs representatives reached out again and stated that “With regards to Facebook, and based

on our analysis so far, we have determined that VideoLabs’ current patent portfolio is relevant to

the majority of Facebook’s annual revenue in some way and we have 17 unique claim charts

completed or in development (and other evidence of use) so far related to Facebook Messenger,

Facebook Live, Oculus, Instagram, Facebook Workplace, Portal, Facebook Ads, and backend

infrastructure” and asked them to engage in “good faith licensing discussions” under a proposed

NDA. VideoLabs representatives sent another updated proposal on March 23, 2020. VideoLabs

representatives reached out again on June 26, 2020, March 16, 2021, and May 4, 2021 to “request[]

good faith licensing negotiations” regarding the number of patents relevant to Facebook and other

Meta services. On June 26, 2020, VideoLabs confirmed in an email that representatives of the

Meta Companies said on a recent call that the Meta Companies were not interested in good faith


       101
             See Ex. 83, RFC 3711, Section 3.3, p. 12.


                                                 93
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licensing discussions. To date, months later, the Meta Companies have not reengaged with

VideoLabs.

       244.    The Meta Companies of course know how their products operate, and on

information and belief, they investigated the ’682 Patent and their infringement of the Meta

Companies ’682 Accused Products. The Meta Companies have been given further notice of the

’682 Patent and its infringement of the ’682 Patent through VideoLabs’ May 23, 2022 letter and

the filing of this Complaint. On information and belief, the Meta Companies are either knowingly

infringing the ’682 Patent or are willfully blind to its infringement, and continues to act in wanton

disregard of VideoLabs’ patent rights.

       245.    Despite becoming aware of or willfully blinding itself to its infringement of the

’682 Patent, the Meta Companies have nonetheless continued to engage in and have escalated their

infringing activities by continuing to develop, advertise, make available, and use the infringing

functionalities of the Meta Companies ’682 Accused Products. On information and belief, the

Meta Companies have made no attempts to design around the ’682 Patent or otherwise stop their

infringing behavior.

       246.    The Meta Companies’ infringement of the ’682 Patent therefore has been and

remains willful.

       247.    The Meta Companies also indirectly infringe the ’682 Patent by inducing others to

infringe and contributing to the infringement of others, including other Defendants and third-party

users of the Meta Companies ’682 Accused Products in this District and throughout the United

States. As described above, on information and belief, the Meta Companies has known about the

family of patents including the ’682 Patent since at least January 30, 2020, and have known about

the ’682 Patent since May 23, 2021.




                                                 94
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       248.    On information and belief, the Meta Companies have actively induced the

infringement of the ’682 Patent under 35 U.S.C. § 271(b) by actively inducing third parties in the

United States to use methods and/or take steps that practice at least claim 1 of the ’682 Patent with

respect to the Meta Companies ’682 Accused Products. The Meta Companies knew or were

willfully blind to the fact that their conduct would induce these third parties to act in a manner that

infringes the ’682 Patent in violation of 35 U.S.C. § 271(a).

       249.    The Meta Companies actively encouraged and continue to actively encourage third

parties to directly infringe the ’682 Patent by, for example, marketing the ’682 Accused Products

and WebRTC to consumers; working with consumers to implement, install and/or operate the ’682

Accused Products and WebRTC; fully supporting and managing consumers’ continuing use of the

’682 Accused Products and WebRTC; and providing technical assistance to consumers during

their continued use of the ’682 Accused Products and WebRTC.102



       102
            See e.g., Ex. 71, Using Facebook-Your Photos and Videos-Videos, FACEBOOK HELP
CENTER (2022), https://www.facebook.com/help/1738143323068602 (last visited May 24,
2022); Ex. 72, I can’t add a video on Facebook, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/215726848451641 (last visited May 24, 2022); Ex. 73, Audio
and Video Calling, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/messenger-app/1673374996287506 (last visited May 24, 2022);
Ex. 74, How do I video chat with someone or a group in Messenger?, FACEBOOK HELP CENTER
(2022), https://www.facebook.com/help/messenger-app/1414800065460231 (last visited May
24, 2022); Ex. 75, Instagram Features-Videos, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/381435875695118 (last visited May 24, 2022); Ex. 76, How do I
share a video on Instagram?, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/456185931138729 (last visited May 24, 2022); Ex. 77, How do I
share my video on Instagram to my Facebook Page?, INSTAGRAM HELP CENTER (2022),
https://www.facebook.com/help/instagram/486878428409681 (last visited May 24, 2022); Ex.
78, Oculus Support, https://www.youtube.com/channel/UCxLTeQQFvA5_eb0VkrLIq6w (last
visited May 24, 2022); Ex. 79, Viewing your own 360 videos on your Gear VR; META,
https://support.giphy.com/hc/en-us/articles/360019674452-How-To-Make-A-GIF (last visited
May 24, 2022); Ex. 80, How to make a video call, WHATSAPP,
https://faq.whatsapp.com/android/voice-and-video-calls/how-to-make-a-video-call/?lang=en (last
visited May 24, 2022); Ex. 81, I get a message that my video is too long and it won’t send,



                                                  95
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        250.    On information and belief, the Meta Companies contributorily infringe the ’682

Patent under 35 U.S.C. § 271(c) by importing, selling, and/or offering to sell within the United

States the Meta Companies ’682 Accused Products (or components thereof) that constitute a

material part of the claimed invention and are not staple articles of commerce suitable for

substantial non-infringing use. For example, the hardware and/or software for using WebRTC is

material, has no insubstantial non-infringing uses, and is known by the Meta Companies to be

especially made or adapted for use that practices at least claim 1 of the ’682 Patent with respect to

the Meta Companies ’682 Accused Products.

                                     COUNT V
                       INFRINGEMENT OF U.S. PATENT NO. 7,436,980

        251.    VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

        252.    VL IP is the assignee and lawful owner of all right, title, and interest in and to the

’980 Patent. The ’980 Patent is valid and enforceable.

        253.    On information and belief, the Meta Companies have infringed and continue to

infringe the ’980 Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine

of equivalents, by using methods and/or taking steps that practice at least claim 1 of the ’980

Patent, including with respect to the Meta Companies ’980 Accused Products.

        254.    On information and belief, the Meta Companies use the Meta Companies ’980

Accused Products for its own business purposes. In addition, the Meta Companies regularly

conduct testing and troubleshooting of the Meta Companies ’980 Accused Products. Further,

VideoLabs is informed and believes companies related to the Meta Companies (e.g., other



META, https://faq.whatsapp.com/general/i-get-a-message-that-my-video-is-too-long-and-it-wont-
send/?lang=en (last visited May 24, 2022).


                                                 96
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subsidiaries) use the Meta Companies ’980 Accused Products.

       255.    On information and belief, the Meta Companies’ infringement through its use of

object detection, described below, is exemplary of all of the Meta Companies’ infringement with

respect to all the Meta Companies ’980 Accused Products.

       256.    The Meta Companies ’980 Accused Products directly infringe at least claim 1 of

the ’980 Patent by, for example, detecting an object in an image of video by providing a spatio-

temporal model for the object; measuring the object as a collection of components; determining a

probability that the object is in the image, and comparing the probabilities for each image to a

threshold for detecting the object (“Meta Companies Object Detection”).

       257.    The Meta Companies Object Detection meets every limitation of claim 1 of the

‘980 Patent, which recites:

               1.       A computer implemented method for object detection
                        comprising:
                        providing a spatio-temporal model for an object to be
                            detected;
                        providing a video comprising a plurality of images including
                            the object;
                        measuring the object as a collection of components in each
                           image;
                        determining a probability that the object is in each image;
                            and
                        detecting the object in any image upon comparing the
                            probabilities for each image to a threshold for detecting
                            the object.


       258.    The Meta Companies Object Detection provides a computer implemented method

for object detection.




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Source: Ex. 59, Detectron2: A PyTorch-based modular object detection library, META AI (Oct.
10, 2019), https://ai.facebook.com/blog/-detectron2-a-pytorch-based-modular-object-detection-
                              library-/ (last visited May 24, 2022).

       259.   The Meta Companies Object Detection provides a spatio-temporal model for an

object to be detected. For example, the Meta Companies Object Detection supports myriad spatio-

temporal models to perform object detection functions.




Source: Ex. 59, Detectron2: A PyTorch-based modular object detection library, META AI (Oct.
10, 2019), https://ai.facebook.com/blog/-detectron2-a-pytorch-based-modular-object-detection-
                              library-/ (last visited May 24, 2022).




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                     Source: Ex. 84, Detectron2 Model Zoo and Baselines,
https://github.com/facebookresearch/detectron2/blob/main/MODEL_ZOO.md (last visited May
                                          24, 2020).

       260.    The Meta Companies Object Detection provides a video comprising a plurality of

images including the object. Video comprising a plurality of images is provided to Detectron2 for

object detection through a Python command line interface, where the video file reference is passed

as a command line argument.




                                               99
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           Source: Ex. 62, Getting Started with Detectron2, DETECTRON2, available at
  https://detectron2.readthedocs.io/en/latest/tutorials/getting_started.html (last visited May 24,
                                               2020).

       261.   The Meta Companies Object Detection measures the object as a collection of

components in each image. The object detection models employed in Detectron2 and D2Go use

convolutional approaches to measure each object in the image as a collection of components.




 Source: Ex. 59, Detectron2: A PyTorch-based modular object detection library, META AI (Oct.
 10, 2019), https://ai.facebook.com/blog/-detectron2-a-pytorch-based-modular-object-detection-
                               library-/ (last visited May 24, 2022).



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       262.   These convolutional approaches process image data using a layered approach.

Convolutional neural networks measure an image as made of constituent layers.




   Source: Ex. 63, E. Odemakinde, Mask R-CNN: A Beginner’s Guide, VISO.AI, available at
                           https://viso.ai/deep-learning/mask-r-
        cnn/#:~:text=Mask%20R%2DCNN%20is%20a,segmentation%20mask%20
                   for%20each%20instance (last accessed May 24, 2022).

       263.   Another way the Meta Companies Object Detection processes image data is by

using masks. Masks use spatial segmentation maps to measure and detect the objects in an image.




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  Source: Ex. 64, X. Chen, et al., TensorMask: A Foundation for Dense Object Segmentation,
           FACEBOOK AI RESEARCH (FAIR), at Fig. 1 (Aug. 27, 2019), available at
              https://arxiv.org/pdf/1903.12174.pdf (last accessed May 24, 2022).




  Source: Ex. 64, X. Chen, et al., TensorMask: A Foundation for Dense Object Segmentation,
           FACEBOOK AI RESEARCH (FAIR), at Fig. 1 (Aug. 27, 2019), available at
              https://arxiv.org/pdf/1903.12174.pdf (last accessed May 24, 2022).

       264.    The Meta Companies Object Detection determines a probability that the object is

in each image. On information and belief, the Meta Companies’ Detectron2 and D2Go perform a

series of object detection and object tracking functions in order to determine the probability that

an object is detected in each image.




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    Source: Ex. 65, G. Tanner, D2Go – Use Detectron2 on mobile devices (Mar. 20, 2021),
available at https://gilberttanner.com/blog/d2go-use-detectron2-on-mobile-devices (last accessed
                                          May 24, 2022).

       265.    The Meta Companies’ Detectron2 and D2Go maintain a list of objects detected

within each image as separate “instances.” The Meta Companies specify the probability of each

instance being in the image by a “score” field, which indicates or reflects the probability that the

object is in the image. These probability scores are returned by the “inference_single_image”

function.




                 Source: Ex. 66, detectron2.structures, DETECTRON2, available at
https://detectron2.readthedocs.io/en/latest/modules/structures.html (last accessed May 24, 2022).



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                 Source: Ex. 66, detectron2.structures, DETECTRON2, available at
https://detectron2.readthedocs.io/en/latest/modules/structures.html (last accessed May 24, 2022).

       266.    The Meta Companies Object Detection detects the object in any image upon

comparing the probabilities for each image to a threshold for detecting the object. The Meta

Companies’ Detectron2 and D2Go perform a series of object detection and object tracking

functions in order to determine the probability that an object is detected in each image.




    Source: Ex. 65, G. Tanner, D2Go – Use Detectron2 on mobile devices (Mar. 20, 2021),
available at https://gilberttanner.com/blog/d2go-use-detectron2-on-mobile-devices (last accessed
                                          May 24, 2022).




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       267.    The probabilities that an object is in each image are compared to a threshold for

detecting the object. Specifically, “inference_single_image” is an object detection and tracking

function which can be configured to filter out detected objects that are below a probability

threshold, “self.test_score_thresh.” Detected objects that fall below this threshold probability

value are filtered out of the object detection results for the images.




                 Source: Ex. 66, detectron2.structures, DETECTRON2, available at
https://detectron2.readthedocs.io/en/latest/modules/structures.html (last accessed May 24, 2022).




    Source: Ex. 67, Source code for detectron2.modeling.meta_arch.retinanet, DETECTRON2,
          available at https://detectron2.readthedocs.io/en/v0.5/_modules/detectron2/
               modeling/meta_arch/retinanet.html (last accessed May 24, 2022).




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    Source: Ex. 67, Source code for detectron2.modeling.meta_arch.retinanet, DETECTRON2,
          available at https://detectron2.readthedocs.io/en/v0.5/_modules/detectron2/
               modeling/meta_arch/retinanet.html (last accessed May 24, 2022).

       268.    On information and belief, to the extent applicable, VideoLabs has complied with

35 U.S.C. § 287(a) with respect to the ’980 Patent.

       269.    VideoLabs representatives reached out to Meta representatives at least as early as

October 2, 2019 regarding VideoLabs’ platform and to gauge the Meta Companies’ interest in

joining as a partner or member.       In October, 2019, VideoLabs representatives presented

VideoLabs’ platform to representatives of the Meta Companies. VideoLabs representatives and

Meta representatives spoke between December and February, and met in person on January 30,

2020, during which VideoLabs presented them with an updated proposal. On June 3, 2020,

VideoLabs representatives reached out again and stated that “With regards to Facebook, and based

on our analysis so far, we have determined that VideoLabs’ current patent portfolio is relevant to

the majority of Facebook’s annual revenue in some way and we have 17 unique claim charts

completed or in development (and other evidence of use) so far related to Facebook Messenger,


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Facebook Live, Oculus, Instagram, Facebook Workplace, Portal, Facebook Ads, and backend

infrastructure” and asked them to engage in “good faith licensing discussions” under a proposed

NDA. VideoLabs representatives sent another updated proposal on March 23, 2020. VideoLabs

representatives reached out again on June 26, 2020, March 16, 2021, and May 4, 2021 to “request[]

good faith licensing negotiations” regarding the number of patents relevant to Facebook and other

Meta services. On June 26, 2020, VideoLabs confirmed in an email that representatives of the

Meta Companies said on a recent call that the Meta Companies were not interested in good faith

licensing discussions. To date, months later, the Meta Companies have not reengaged with

VideoLabs.

       270.    The Meta Companies of course know how their products operate, and on

information and belief, they investigated the ’980 Patent and their infringement of the Meta

Companies ’980 Accused Products. The Meta Companies have been given further notice of the

’980 Patent and their infringement of the ’980 Patent through VideoLabs’ May 23, 2022 letter and

the filing of this Complaint. On information and belief, the Meta Companies are either knowingly

infringing the ’980 Patent or are willfully blind to its infringement, and continue to act in wanton

disregard of VideoLabs’ patent rights.

       271.    Despite becoming aware of or willfully blinding itself to its infringement of the

’980 Patent, the Meta Companies have nonetheless continued to engage in and have escalated their

infringing activities by continuing to develop, advertise, make available, and use the infringing

functionalities of the Meta Companies ’980 Accused Products. On information and belief, the

Meta Companies have made no attempts to design around the ’980 Patent or otherwise stop their

infringing behavior.

       272.    The Meta Companies’ infringement of the ’980 Patent therefore has been and




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remains willful.

       273.    The Meta Companies also indirectly infringe the ’980 Patent by inducing others to

infringe and contributing to the infringement of others, including other Defendants and third-party

users of the Meta Companies ’980 Accused Products in this District and throughout the United

States. As described above, on information and belief, the Meta Companies have known about the

family of patents including the ’980 Patent since at least January 30, 2020, and have known about

the ’980 Patent since May 23, 2021.

       274.    On information and belief, the Meta Companies have actively induced the

infringement of the ’980 Patent under 35 U.S.C. § 271(b) by actively inducing third parties in the

United States to use methods and/or take steps that practice at least claim 1 of the ’980 Patent with

respect to the Meta Companies ’980 Accused Products. The Meta Companies knew or were

willfully blind to the fact that their conduct would induce these third parties to act in a manner that

infringes the ’980 Patent in violation of 35 U.S.C. § 271(a).

       275.    The Meta Companies actively encouraged and continue to actively encourage third

parties to directly infringe the ’980 Patent by, for example, marketing and offering the Meta

Companies ’980 Accused Products to consumers; working with consumers to implement, install

and/or operate the Meta Companies ’980 Accused Products; fully supporting and managing

consumers’ continuing use of the Meta Companies ’980 Accused Products; and providing

technical assistance to consumers during their continued use of the Meta Companies ’980 Accused

Products.103



       103
          See e.g., Ex. 71, Using Facebook-Your Photos and Videos-Videos, FACEBOOK HELP
CENTER (2022), https://www.facebook.com/help/1738143323068602 (last visited May 24,
2022); Ex. 72, I can’t add a video on Facebook, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/215726848451641 (last visited May 24, 2022); Ex. 73, Audio



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       276.    The Meta Companies induce third parties to infringe the ’980 Patent at least by

encouraging them to use Meta Companies Object Detection, which constitutes infringement of the

’980 Patent. For example, the Meta Companies advertise and promote Meta Companies Object

Detection on its website. The Meta Companies advertise that Meta Companies Object Detection

facilitates “flexible and extensible” object detection, “fast training on single or multiple GPU

servers,” “includes high-quality implementations of state-of-the-art object detection algorithms,”

and facilitates “rapid[]” and “at scale” production models.104 In response, consumers acquire,

develop, configure, and operate the Facebook Object Detection library in an infringing manner.

       277.    On information and belief, the Meta Companies contributorily infringe the ’980

Patent under 35 U.S.C. § 271(c) by importing, selling, and/or offering to sell within the United

States the Meta Companies ’980 Accused Products (or components thereof) that constitute a




and Video Calling, FACEBOOK HELP CENTER (2022),
https://www.facebook.com/help/messenger-app/1673374996287506 (last visited May 24, 2022);
Ex. 74, How do I video chat with someone or a group in Messenger?, FACEBOOK HELP CENTER
(2022), https://www.facebook.com/help/messenger-app/1414800065460231 (last visited May
24, 2022); Ex. 75, Instagram Features-Videos, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/381435875695118 (last visited May 24, 2022); Ex. 76, How do I
share a video on Instagram?, INSTAGRAM HELP CENTER (2022),
https://help.instagram.com/456185931138729 (last visited May 24, 2022); Ex. 77, How do I
share my video on Instagram to my Facebook Page?, INSTAGRAM HELP CENTER (2022),
https://www.facebook.com/help/instagram/486878428409681 (last visited May 24, 2022); Ex.
78, Oculus Support, https://www.youtube.com/channel/UCxLTeQQFvA5_eb0VkrLIq6w (last
visited May 24, 2022); Ex. 79, Viewing your own 360 videos on your Gear VR; META,
https://support.giphy.com/hc/en-us/articles/360019674452-How-To-Make-A-GIF (last visited
May 24, 2022); Ex. 80, How to make a video call, WHATSAPP,
https://faq.whatsapp.com/android/voice-and-video-calls/how-to-make-a-video-call/?lang=en (last
visited May 24, 2022); Ex. 81, I get a message that my video is too long and it won’t send,
META, https://faq.whatsapp.com/general/i-get-a-message-that-my-video-is-too-long-and-it-wont-
send/?lang=en (last visited May 24, 2022).
104
    See Ex. 59, Detectron2: A PyTorch-based modular object detection library, META AI (Oct.
10, 2019), https://ai.facebook.com/blog/-detectron2-a-pytorch-based-modular-object-detection-
library-/ (last visited at May 24, 2022).



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material part of the claimed invention and are not staple articles of commerce suitable for

substantial non-infringing use. For example, the hardware and/or software for using object

detection is material, has no insubstantial non-infringing uses, and is known by the Meta

Companies to be especially made or adapted for use that practices at least claim 1 of the ’980

Patent with respect to the Meta Companies ’980 Accused Products.

                                   PRAYER FOR RELIEF

       WHEREFORE, VideoLabs prays for judgment as follows:

       a) That the Meta Companies directly and/or indirectly infringe the ’878, ’238, ’059, ’682,

          and ’980 Patents;

       b) That such infringement is willful;

       c) That the Meta Companies and their respective officers, directors, agents, partners,

          servants, employees, attorneys, licensees, successors, and assigns, and those in active

          concert or participation with any of them, be permanently enjoined from engaging in

          infringing activities with respect to the ’878, ’238, ’059, ’682, and ’980 Patents;

       d) In the alternative, in the event injunctive relief is not granted as requested by

          VideoLabs, an award of a mandatory future royalty payable on each future product sold

          by the Meta Companies that is found to infringe one or more claims of the ’878, ’238,

          ’059, ’682, and ’980 Patents, and on all future products which are not colorably

          different from products found to infringe;

       e) That the Meta Companies be required to pay VideoLabs’ damages in an amount

          adequate to compensate VideoLabs for their infringement, but in no event less than a

          reasonable royalty under 35 U.S.C. § 284, including supplemental damages for any




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             continuing post-verdict infringement up until entry of judgment and beyond, with

             accounting, as needed;

        f) That VideoLabs be awarded all statutory and actual damages to which it is entitled,

             including the profits reaped by the Meta Companies through its illegal conduct, and

             prejudgment and post-judgment interest;

        g) That VideoLabs be awarded enhanced damages, up to and including trebling of the

             damages awarded to VideoLabs;

        h) That VideoLabs be awarded recovery of the costs of this suit, including reasonable

             attorneys’ fees; and

        i)     That VideoLabs be awarded such other and further relief as this Court deems just and

             proper.

                                    DEMAND FOR JURY TRIAL

        278.      VideoLabs hereby demands a jury trial on its claims for patent infringement and

any and all issues triable of right before a jury.



 Dated: May 24, 2022                                       Respectfully submitted,

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